                   Case 2:18-cv-02505-NIQA Document 254-2 Filed 02/14/22 Page 1 of 23                        EXHIBIT B
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                           for the
                                                    Eastern DistrictDistrict
                                                      __________    of Pennsylvania
                                                                             of __________
                      ANNA K. NUPSON
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No.
   SCHNADER HARRISON SEGAL & LEWIS, LLP,                                      )
       and BRUCE A. ROSENFIELD, ESQ.                                          )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To:                                                          Blank Rome, LLP
                                       One Logan Square, 130 North 18th Street, Philadelphia, PA, 19103
                                                       (Name of person to whom this subpoena is directed)

      ✔
      ’ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:
           All materials listed and described in Attachment A.


 Place: Brian A. Gordon c/o Gordon & Ashworth PC                                        Date and Time:
          One Belmont Ave. Suite 519, Bala Cynward, PA 19004


     ’ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:

                                  CLERK OF COURT
                                                                                            OR

                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
                                                                        , who issues or requests this subpoena, are:
Kimberly S. Brusuelas, 312 San Pasquale NW, Albuquerque, NM 87104, (505) 247-9333, kim@fifthstreetlaw.com

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            ’ I returned the subpoena unexecuted because:
                                                                                                                                                      .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00    .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:




         Print                         Save As...                  Add Attachment                                                             Reset
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                     ATTACHMENT A

                                       DEFINITIONS

1.    “Document” means, without limitation, any type of information contemplated by Federal

     Rule of Civil Procedure 34, including but not limited to the original and all copies and

     translations of any information in any written, recorded, graphic, or electronic form,

     including all memoranda of oral conversations, communications, letters, emails, notes,

     messages, as well as all compilations, catalogs, diaries, calendars and summaries of

     information or data, whether typed, handwritten, printed, recorded, digitally coded, or

     otherwise produced or reproduced, and shall include, without limitation, each and every

     note, memorandum, letter, telegram, publication, telex, circular, release, article, book,

     report, prospectus, record, financial statement, computer disc, computer tape, microfilm,

     microfiche, microform, index, list, claims file, analysis, chart, money order, account

     book, draft, summary, diary, transcript, agreement, calendar, graph, receipt, chart,

     business record, insurance policy, computer printout, contract, and order. “Document”

     also means any tape or audible recording, photograph, motion picture, videotape,

     computer and word processor disks, data cells, drums, print outs, and all other data

     compilations and any non-identical copy thereof, either by virtue of other material

     appearing thereon, such as handwriting or typewriting, or otherwise. “Document” also

     includes “electronic data,” which means the original and any non-identical copies and

     drafts of mechanical, facsimile, electronic, magnetic, digital, or other programs (whether

     private, commercial, or work-in-progress), programming notes, instructions, comments or

     remarks, program change logs, and activity listings of electronic mail receipts and/or

     transmittals, output resulting from the use of any software program, including word
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   processing documents, spreadsheets, database files, charts, graphs and outlines, electronic

   mail, operating systems, source codes of all types, programming languages, linkers and

   compilers, peripheral drivers, PDF files, batch files, ASCII files, and any and all

   miscellaneous files and/or file fragments, regardless of the media on which they reside

   and regardless of whether said electronic data consists in an active or deleted file or file

   fragment. Electronic data includes any and all items stored on computer memories or

   computer chips including, but not limited to, EPROM, PROM, RAM, and ROM, hard

   disks, floppy disks, CD-ROM, Bernoulli Boxes and their equivalent, magnetic tape of all

   types, microfiche, punched media, jump drives, portable media, or any other vehicle for

   digital data storage and/or transmittal. The term also includes all Electronic Bulletin

   Board Services, including all levels of access, sub-boards, conferences, and all

   information contained therein.

2. “Orphans’ Court Litigation” is defined as the legal proceedings in the Orphans’ Court

   Division of the Court of Common Pleas of Montgomery County, Pennsylvania having the

   following docket numbers: 1998-x1871; 2012-x3503; 2014-x3827; 2015-x1266; 2016-

   x4305; 2017-x1239; and 2017-x1364.

3. “You” is defined as Blank Rome LLP and any of its partners or associates in their

   capacity as counsel to John S. Middleton and/or Bradford Holdings, Inc. or any of its

   affiliates.

                 REQUESTS FOR PRODUCTION OF DOCUMENTS

1. All documents, files, communications, letters, notes, emails, messages, reports,

   memorandum, and any other information not previously produced in the Orphans’ Court
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   Litigation regarding Robert Siwicki, Fleet M&A Advisors, and Howard Lawson during

   the time frame between 1995 to 2003, specifically the items listed on Attachment A-1.

2. All documents, files, communications, letters, notes, emails, messages, reports,

   memorandum, and any other information not previously produced in the Orphans’ Court

   Litigation between the Defendants in this action and John S. Middleton, and or Larry

   Laubach, and Margaret Thompson, and or John Stine, and or regarding pre-death estate

   planning by or for Frances S. Middleton, and the probate and non-probate (gross) Estate

   of Frances S. Middleton, specifically the items listed on Attachment A-1.

3. All documents, files, communications, letters, notes, emails, messages, reports,

   memorandum, and any other information not previously produced in the Orphans’ Court

   Litigation regarding pre-death estate planning by or for Frances S. Middleton, and the

   probate and non-probate (gross) Estate of Frances S. Middleton, specifically the items

   listed on Attachment A-1.

4. All documents, files, communications, letters, notes, emails, messages, reports,

   memorandum, and any other information not previously produced in the Orphans’ Court

   Litigation regarding the probate and non-probate (gross) Estate of Herbert H. Middleton,

   Jr, specifically the items listed on Attachment A-1.

5. All documents, files, communications, letters, notes, emails, messages, reports,

   memorandum, draft documents, and any other information not previously produced in the

   Orphans’ Court Litigation regarding a tenancy by the entireties agreement executed by

   Herbert H. Middleton, Jr and Frances S. Middleton, specifically the items listed on

   Attachment A-1.
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6. All documents, files, communications, letters, notes, emails, messages, reports,

   memorandum, draft documents, and any other information not previously produced in the

   Orphans’ Court Litigation regarding Anna K. Nupson’s request to Schnader Harrison

   Segal & Lewis for client files, and request for documents relating to trust(s) and estate(s)

   of which she holds a beneficial interests, specifically the items listed on Attachment A-1.

7. All documents, files, communications, letters, notes, emails, messages, reports,

   memorandum, draft documents, and any other information not previously produced in the

   Orphans’ Court Litigation regarding Anna K. Nupson’s request to Cozen O’Conner for

   files relating to trust(s) and estate(s) of which she holds a beneficial interests, specifically

   the items listed on Attachment A-1.

8. All documents and items listed on the attached spreadsheet (Attachment A-1).
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                                                                                                                         Attachment A-1 (Subpoena to Blank Rome, LLP)




                                    PL                   Document Description
                                 Document Document
Production Set No.   Bates No.      No.   Date                                                                                          Privilege/ Redaction Claims
                                                        John S. Middleton desk calendar for 1999: Entries redacted on: 5/5, 8/31 and
                                                        10/21 - questions/issues for discussion with Bruce Rosenfield about business
        5            BHI003345     N/A       1999-01-01 decisions                                                                       A/C
1/31/2017 BHISHM                                        Unexecuted Agreement of Trust between Frances S. Middleton as Grantor,
    Production         N/A         N/A       1999-01-01 and Frances S. Middleton and John S. Middleton as Trustees                      AC – FSM Executors Hold
                                                        Howard Lawson & Co. report to Bruce Rosenfield regarding Valuation of
                                                        Minority Interests of Common Stock of BHI as of 8/31/1998, provided to
       12              N/A         452       1999-02-25 assist counsel in providing legal advice to client                              A/C
                                                        Email from Bruce Rosenfield to Ross- re: Middleton and GRAT for Fran, with
1/31/2017 BHISHM                                        attachments
    Production         N/A         N/A       1999-03-10                                                                                 AC – FSM Executors Hold
1/31/2017 BHISHM                                        Schnader document re: Gift Tax/QPRT of Frances S. Middleton
    Production         N/A         N/A       1999-03-16                                                                                 AC – FSM Executors Hold
1/31/2017 BHISHM                                        Schnader document re: Gift Tax/QPRT of Frances S. Middleton, and
    Production         N/A         N/A       1999-03-16 GRIT/Qualified Personal Residence Trust                                         AC – FSM Executors Hold
                                                        William Webb (Schnader) letter to John S. Middleton re transfer of Attorney
        8              N/A         427       1999-05-18 Client BHI shares                                                               A/C
1/31/2017 BHISHM                                        Memo from Bruce Rosenfield to Nancy Pole- re: Middleton
    Production         N/A         N/A       1999-06-08                                                                                 AC – FSM Executors Hold
1/31/2017 BHISHM                                        Memo from Bruce Rosenfield to File: Re: Middleton
    Production         N/A         N/A       1999-08-11                                                                                 AC – FSM Executors Hold
                                                        John S. Middleton email to Larry Laubach and Bruce Rosenfield re corporate
        7              N/A         361       1999-12-03 planning                                                                        A/C
                                                        Letter from Robert Siwicki (Howard Lawson) to Bruce Rosenfield, Esq.
                                                        regarding Schnader's engagement of Howard Lawson to provide professional
        3              N/A          74       1999-12-14 services to assist counsel in advising client                                   A/C
                                                        Letter from George Moorbury of Howard Lawson to Bruce Rosenfield, Esq.
                                                        regarding Schnader's engagement of Howard Lawson to provide professional
        3              N/A          78       1999-12-14 services to assist counsel in advising client                                   A/C
                                                        Robert Siwicki letter to Bruce Rosenfield regarding Howard Lawson & Co.
                                                        engagement for valuation of common shares of Bradford Holdings, Inc., to
                                                        assist counsel in providing advice to client, executed by Robert Siwicki, Bruce
                                                        Rosenfield and John S. Middleton on behalf of Bradford Holdings, Inc.
       12              N/A         450       1999-12-14                                                                                 A/C
                                                        John S. Middleton desk calendar for 2000: Entries redacted on: 1/12, 1/17,
                                                        1/18, 8/3, 8/22, 8/23, 8/25, 11115 - comments/questions to Bruce Rosenfield
        5            BHI003973     N/a       2000-01-01 about business issues                                                           A/C
1/31/2017 BHISHM                                        Message Confirmation re: fax of document titled “Bradford Holdings
    Production         N/A         N/A       2000-04-19 Valuation as of April 19, 2000”                                                 AC – FSM Executors Hold
                                                        John S. Middleton email to Bruce Rosenfield, Esq., cc to Larry Laubach, Esq.,
        3              N/A          20       2000-06-14 re Howard Lawson                                                                A/C
        7              N/A         276       2000-06-14 John S. Middleton communication to Bruce Rosenfield re Double Play, Inc.        A/C
                                                        John S. Middleton communication to Bruce Rosenfield re Howard Lawson
        7              N/A         290       2000-06-14 valuation                                                                       A/C
                                                        John S. Middleton communication to Bruce Rosenfield re Howard Lawson
        7              N/A         322       2000-06-14 valuation                                                                       A/C
        7              N/A         363       2000-06-14 John S. Middleton letter to Bruce Rosenfield re Howard Lawson valuation         A/C
                                                        John S. Middleton email to Bruce Rosenfield, cc to Larry Laubach re Howard
        8              N/A         406       2000-06-14 Lawson valuation                                                                A/C
1/31/2017 BHISHM                                        Letter from Larry Laubach to Siwicki, cc John S. Middleton and Bruce
    Production         N/A         N/A       2000-06-28 Rosenfield: re: Bruce Rosenfieldadford Holdings, Inc., with attachments         AC – FSM Executors Hold
        8              N/A         412       2000-08-01 John S. Middleton notes/comments to counsel re Robert Siwicki valuation         A/C
                                                        John S. Middleton email to Larry Laubach, Esq. and Bruce Rosenfield, Esq.
                                                        soliciting comments on attached draft letter to Robert Siwicki regarding issues
                                                        for which Mr. Siwicki was retained at request of counsel to assist counsel in
        3              N/A          18       2000-08-02 giving legal advice to BHI.                                                     A/C
        3              N/A          19       2000-08-02 John S. Middleton letter to Bruce Rosenfield, Esq., re Howard Lawson            A/C
                                                        Letter from John S. Middleton to Bruce Rosenfield, Esq. re Howad, Lawson
        3              N/A         101       2000-08-02 valuation                                                                       A/C
        7              N/A         277       2000-08-02 John S. Middleton communication to Bruce Rosenfield Double Play, Inc.           A/C
                                                        John S. Middleton communication to Larry Laubach and Bruce Rosenfield re
        7              N/A         278       2000-08-02 request for review/comment on draft letter to Robert Siwicki                    A/C
                                                        John S. Middleton communication to Bruce Rosenfield re Robert Siwicki
        7              N/A         291       2000-08-02 valuation                                                                       A/C
                                                        John S. Middleton communication to Larry Laubach and Bruce Rosenfield
        7              N/A         292       2000-08-02 seeking comments on attached draft letter to Robert Siwicki                     A/C
                                                        John S. Middleton communication to Bruce Rosenfield re Howard Lawson
        7              N/A         323       2000-08-02 valuation                                                                       A/C
                                                        John S. Middleton communication to Larry Laubach and Bruce Rosenfield re
        7              N/A         324       2000-08-02 Attorney Client Howard Lawson valuation                                         A/C
        7              N/A         364       2000-08-02 John S. Middleton letter to Bruce Rosenfield re Howard Lawson valuation         A/C
                                                        John S. Middleton email to Larry Laubach and Bruce Rosenfield requesting
        7              N/A         365       2000-08-02 comments/review of draft letter to Robert Siwicki                               A/C
        8              N/A         407       2000-08-02 John S. Middleton letter to Bruce Rosenfield re Howard Lawson valuation         A/C
                                                        John S. Middleton letter to Bruce Rosenfield re Howard Lawson review of
        8              N/A         408       2000-08-02 draft letter to Robert Siwick                                                   A/C
                                                        John S. Middleton letter to Bruce Rosenfield regarding Arthur Andersen's
       12              N/A         455       2000-08-02 October 31, 1999 valuation of the Phillies                                      A/C
                                                        draft letter from John S. Middleton to Robert Siwicki, for review/comment by
        7              N/A         325       2000-08-03 Attorney Client Larry Laubach and Bruce Rosenfield                              A/C
                                                        draft John S. Middleton letter to Robert Siwicki for review/comment by Larry
        7              N/A         366       2000-08-03 Laubach and Bruce Rosenfield                                                    A/C




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                                                                                                                           Attachment A-1 (Subpoena to Blank Rome, LLP)




                                                          draft John S. Middleton letter to Robert Siwicki for review and comment by
        8               N/A       409        2000-08-03   Larry Laubach and Bruce Rosenfield                                                A/C
                                                          Letter from T. Patrick Hurley of Howard Lawson to Bruce Rosenfield, Esq. re
                                                          agreement for access to proprietary information of BHI to provide
        3               N/A        77        2000-08-08   professional services to assist counsel in advising client.                       A/C
                                                          Confidentiality Agreement between Howard, Lawson & Co. and Schnader
        12              N/A       435        2000-08-08   Harrison Segal & Lewis, addressed to Bruce Rosenfield and Larry Laubach           A/C
                                                           John S. Middleton communication to Bruce Rosenfield re Howard Lawson
        7               N/A       275        2000-08-11   valuation                                                                         A/C
                                                          John S. Middleton communication to Bruce Rosenfield re Howard Lawson
        7               N/A       289        2000-08-31   valuation                                                                         A/C
                                                          John S. Middleton communication to Bruce Rosenfield re Howard Lawson
        7               N/A       321        2000-08-31   valuation                                                                         A/C
        7               N/A       362        2000-08-31    John S. Middleton letter to Bruce Rosenfield re Howard Lawson valuation          A/C
                                                          John S. Middleton letter to Bruce Rosenfield cc to Donald Erickson Attorney
                                                          Client of Ernst & Young re Howard Lawson valuation; Ernst & Young included
                                                          to provide services to assist counsel in providing legal advice to client
        8               N/A       411        2000-08-31                                                                                     A/C
                                                          John Stine letter to Frances re estate planning, to assist counsel in providing
        8               N/A       388        2000-09-11   legal advice                                                                      Attorney Client - FSM Executors
                                                          Ernst & Young PowerPoint presentation re "Frances Middleton Estate
        8               N/A       389        2000-09-11   Planning Strategies," to assist counsel in providing legal advice                 Attorney Client - FSM Executors
                                                          Schnader "Agenda Fran Middleton" re discussions about tax and various other
        8               N/A       385        2000-09-25   estate planning issues                                                            Attorney Client - FSM Executors
        8               N/A       386        2000-09-25   Schnader Chart of "Estate Planning Techniques" for Frances S. Middleton           Attorney Client - FSM Executors
        8               N/A       390        2000-09-25   Agenda for Ernst & Young and Schnader meeting with Frances S. Middleton           Attorney Client - FSM Executors
        8               N/A       391        2000-09-25   Chart of estate planning techniques for France S. Middleton                       Attorney Client - FSM Executors
1/31/2017 BHISHM                                          Schnader document titled “Agenda – Fran Middleton”, with attachments
    Production          N/A       N/A        2000-09-25                                                                                     AC – FSM Executors Hold
                                                          Bruce Rosenfield, Esq., memorandum, with attached agenda, to Roy Ross,
                                                          Esq., and Larry Laubach, Esq. re discussions with John S. Middleton and
        3               N/A        17        2000-09-28   Frances Middleton re her estate planning                                          A/C
1/31/2017 BHISHM                                          From Bruce Rosenfield to RR and Larry Laubach: Memorandum re: John/Fran
    Production          N/A       N/A        2000-09-28   Middleton                                                                         AC – FSM Executors Hold
                                                          John S. Middleton communication to Bruce Rosenfield re Howard Lawson
        7               N/A       326        2000-10-06   valuation                                                                         A/C
        7               N/A       367        2000-10-06   John S. Middleton email to Bruce Rosenfield re Howard Lawson valuation            A/C
                                                          John S. Middleton email to Bruce Rosenfield with changes John S. Attorney
                                                          Client Middleton wants communicated to R. Siwicki to draft valuation of
        8               N/A       410        2000-10-06   Double Play                                                                       A/C
                                                                                                                                            First page redacted as W IP - counsel's note
        10            BHI049980   N/A        2000-11-13 Howard Lawson report                                                                taken during document collection
                                                        document entitled "Supporting calculations for sub-chapter S memo of
                                                        November 28, 2000," prepared to assist counsel in providing legal advice to
        6               N/A       219        2000-11-28 BHI                                                                                 A/C
                                                        John S. Middleton desk calendar for 2001: Entries redacted on 1/16, 1/24,
                                                        1/26, 1/29, 4/4, 4/5, 4/17, 4/23, 4/25, 5/1, 5/29, 8/6, 10/4, 11/14, 22/27 -
                                                        comments/questions for Larry Laubach, Bruce Rosenfield and/or John Stine
                                                        (accounting retained to provide services to assist counsel in providing legal
        5             BHI004601   N/A        2001-01-01 advice) regarding S-Corp conversion and related issues.                             A/C
                                                        2001 Marketing Brochure for John Middleton, Inc.                                    Body of 2001/08/08 Clint Price
                                                                                                                                            Memorandum to Robert Siwicki redacted as
        12            BHI067421   N/A        2001-01-01                                                                                     attorney-client privileged
                                                        Letter from Annette Madison to Robert Siwicki re valuation analysis to be
        12              N/A       456        2001-01-11 done for S-Corp conversion                                                          A/C
        12              N/A       464        2001-01-11 Robert Siwicki handwritten notes re telephone conference with Clint Price.          A/C
1/31/2017 BHISHM                                        From Stine to Bruce Rosenfield Fax transmission with attachment re:
    Production          N/A       N/A        2001-01-18 Middleton Trusts                                                                    A/C
1/31/2017 BHISHM                                        Email from Bruce Rosenfield to Stine: Re: agenda
    Production          N/A       N/A        2001-01-24                                                                                     AC – FSM Executors Hold
1/31/2017 BHISHM                                        Unexecuted Agreement of Trust between Frances S. Middleton as Grantor
    Production          N/A       N/A        2001-02-01 and John S. Middleton as Trustee                                                    AC – FSM Executors Hold
                                                        Email from Rosenfield to Marianna Marchiano(Cozen) CC Laubach Re Stock
        20              N/A       753        2001-02-22 Purchase Agreement                                                                  A/C
                                                        Email Attachment: bradford - stock purchase agreement of susan flood
        20              N/A       754        2001-02-22 thorkelson v1.WPD                                                                   A/C
                                                        Email Attachment: bradford - stock purchase agreement of nancy f. smith
        20              N/A       755        2001-02-22 (2).WPD                                                                             A/C
                                                        Email Attachment: bradford - stock purchase agreement of susan f.
        20              N/A       756        2001-02-22 thorkelson vRED (3).WPD                                                             A/C
                                                        Email from John S. Middleton, Stine, Marchiano (Schnader) to Bruce
22,23,24 (combined)     N/A       1242       2001-02-22 Rosenfield, cc Larry Laubach: Stock Purchase Agreement                              A/C
                                                        Attachment to 1242: bradford - stock purchase agreement of
22,23,24 (combined)     N/A       1243       2001-02-22 susan flood thorkelson v1.WPD                                                       A/C
                                                        Attachment to 1242: bradford - stock purchase agreement of
22,23,24 (combined)     N/A       1244       2001-02-22 nancy f. smith (2).WPD                                                              A/C
                                                        Attachment to 1242: bradford - stock purchase agreement of
22,23,24 (combined)     N/A       1245       2001-02-22 susan f. thorkelson vRED (3).WPD                                                    A/C
                                                        Ernst & Young Audit Report and Consolidated Financial Statements for years          Robert Siwicki handwritten note regarding
                                                        ended January 31, 2001 and 2000                                                     conversation with Annette Madison
                                                                                                                                            redacted· from first page as attorney-client
        12            BHI067178   N/A        2001-03-08                                                                                     privileged
                                                        Bruce Rosenfield communication to John S. Middleton re redemption of
        7               N/A       279        2001-03-11 Thorkelson and Flood stock                                                          A/C




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         7                  N/A        340         2001-03-11 Bruce Rosenfield memo to John S. Middleton re redemption                         A/C
                                                              Email from John S. Middleton to Stine, Bruce Rosenfield and Larry Laubach:
22,23,24 (combined)         N/A        1193        2001-03-26 Re: Shareholder election for the S                                               A/C
                                                              Email from Stine to John S. Middleton, Bruce Rosenfield, and Larry Laubach:
22,23,24 (combined)         N/A        1194        2001-03-26 Re Shareholder election for the S                                                A/C
22,23,24 (combined)         N/A        1356        2001-03-27 Email from Bruce Rosenfield to Larry Laubach: Re S Corporation                   A/C
                                                              John Stine communication to Bruce Rosenfield, John S. Middleton, Larry
                                                              Laubach S-Corp reorganization, to assist counsel in providing legal advice to
         7                  N/A        281         2001-03-29 client                                                                           A/C
                                                              Email from Stine to Stine, cc Bruce Rosenfield, John S. Middleton, Larry
                                                              Laubach, ect. :Re: Final Decisions                                               Redacted portions of email summarizing
                                                                                                                                               discussion among J. Middleton, B.
                                                                                                                                               rosenfield, L. Laubach, and J. Stine re J. and
                                                                                                                                               L. Middleton estate and tax planning and
22,23,24 (combined)     BHICOZ044180   N/A         2001-03-29                                                                                  trusts for their children.
                                                              Email from Bruce Rosenfield to John S. MiddletonRe: QSST or ESBT for your
22,23,24 (combined)         N/A        1237        2001-03-29 82 stock trust                                                                   A/C
                                                              Email from Larry Laubach, Bruckman (Ernst Young), Bruce Rosenfield, Annette
                                                              Madison to Stine, cc Jeffrey God (Schnader) and Larry Laubach: Re Merger
22,23,24 (combined)         N/A        1358        2001-03-29 Documents                                                                        A/C
                                                              Email from J. Stine to Bruce Rosenfield, J. Middleton, K. Bruckman, L.
                                                              MacDonough, M. Kelly, L. Laubach                                                 Redacted portions of email summarizing
                                                                                                                                               discussion among J. Middleton, B.
                                                                                                                                               Rosenfield, L. Laubach, J. Stine regarding J.
                                                                                                                                               and L. Middleton personal estate and tax
                                                                                                                                               planning and trusts for their children as non-
26, 27, 28 (combined)   BHICOZ044180   N/A         2001-03-29                                                                                  responsive and attorney-client privileged
                                                              Larry Laubach letter to Robert Siwicki re Thorkelson/Smith purchase
         12                 N/A        458         2001-04-17 agreements                                                                       A/C
                                                              document entitled "Frances Middleton Estate Planning Meeting" - agenda for
                                                              meeting with attorneys and accountants, who were retained to provide
         4                  N/A        120         2001-04-25 services to assist attorney in providing estate planning advice.                 A/C- FSM Executors
 1/31/2017 BHISHM                                             Schnader attorney’s handwritten notes re: meeting on Middleton
     Production             N/A        N/A         2001-04-28                                                                                  AC – FSM Executors Hold
 1/31/2017 BHISHM                                             From Bruce Rosenfield to John S. Middleton, CC Larry Laubach: Letter re:
     Production             N/A        N/A         2001-05-25 Estate Planning                                                                  A/C
 1/31/2017 BHISHM                                             Schnader chart with handwritten notes titled “Bradford Holdings, Inc. Class B
     Production             N/A        N/A         2001-05-30 Non-Voting Common Shares – Summary”                                              AC – FSM Executors Hold
                                                              Letter from Robert Siwicki to Bruce Rosenfield, Esq. regarding Schnader's
                                                              engagement of Howard Lawson to provide professional services to assist
         3                  N/A         73         2001-06-11 counsel in advising JMI in connection with S-Corp election                       A/C
                                                              Letter from Robert Siwicki to Bruce Rosenfield, Esq. regarding Schnader's
                                                              engagement of Howard Lawson to provide professional services to assist
         3                  N/A         75         2001-06-11 counsel in advising JMI in connection with S-Corp election                       A/C
                                                              Letter from Robert Siwicki to Bruce Rosenfield, Esq. regarding Schnader's
                                                              engagement of Howard Lawson to provide professional services to assist
         3                  N/A         76         2001-06-11 counsel in advising JMI in connection with S-Corp election                       A/C
 1/31/2017 BHISHM                                             Charts titled “Frances S. Middleton – Grantor Retained Annuity Trust”
     Production             N/A        N/A         2001-06-22                                                                                  AC – FSM Executors Hold
                                                               Bruce Rosenfield letter to Frances S. Middleton, cc to John S. Middleton re
         8                  N/A        393         2001-06-28 "Estate Planning"                                                                Attorney Client - FSM Executors
                                                              Draft Grantor Retained Annuity Trust
         8                  N/A        394         2001-06-28                                                                                  Attorney Client - FSM Executors
 1/31/2017 BHISHM           N/A        N/A         2001-06-28 Letter from Bruce Rosenfield to Frances S. Middleton and John S. Middleton - AC – FSM Executors Hold
                                                              Handwritten draft and typed final version of charts showing family tree of
 1/31/2017 BHISHM                                             Frances Middleton with stock owned by family members and current assets
     Production             N/A        N/A         2001-08-02 available for distribution net of any death taxes                                AC – FSM Executors Hold
                                                              Clint Price List of Customer Rankings in Sales Dollars Feb 2000 - Jan 2001, with
                                                              Robert Siwicki handwritten notes and 2001/08/14-John Middleton, Inc. List
         12                 N/A        467         2001-08-06 of Key Vendors for Manufacturing with Robert Siwicki handwritten notes           A/C
                                                               Clint Price memorandum to Robert Siwicki re Environmental Analysis for John
         12                 N/A        469         2001-08-07 Middleton, Inc.                                                                  A/C
                                                              Clint Price letter to Robert Siwicki re information about John Middleton, Inc.
         12                 N/A        463         2001-08-14                                                                                  A/C
         12                 N/A        468         2001-08-14 Clint Price communication to Robert Siwicki re valuation                         A/C
     Production             N/A        N/A         2001-08-29 Letter from Bruce Rosenfield to Frances S. Middleton and John S. Middleton-      AC – FSM Executors Hold
                                                              Letter agreement with Fleet Advisors regarding access to confidential BHI
                                                              information in connection with engagement to provide services to assist
         3                  N/A         39         2001-08-31 counsel in advising client                                                       A/C
                                                              Letter agreement with Fleet Advisors regarding access to confidential BHI
                                                              information in connection with engagement provide services to assist counsel
         3                  N/A         40         2001-08-31 in advising client                                                               A/C
                                                              Letter agreement with Fleet Advisors regarding access to confidential BHI
                                                              information in connection with engagement to provide services to assist
         3                  N/A         70         2001-08-31 counsel in advising client                                                       A/C
                                                              Letter agreement with Fleet Advisors regarding access to confidential BHI
                                                              information in connection with engagement to provide services to assist
         3                  N/A         71         2001-08-31 counsel in advising client                                                       A/C
                                                              Letter agreement with Fleet Advisors regarding access to confidential BHI
                                                              information in connection with engagement to provide services to assist
         3                  N/A         72         2001-08-31 counsel in advising client                                                       A/C
                                                              Fleet Advisors confidentiality agreement for review/comment by John S.
         7                  N/A        358         2001-08-31 Middleton and counsel                                                            A/C




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                                                              Letter agreement between Fleet Securities, Inc., and Bradford Holdings, Inc.,
         12                 N/A        436         2001-08-31 signed by Robert Siwicki and John S. Middleton                                        A/C
                                                              Depreciation Expenses Estimate for 5 Fiscal years Beginning FY 2001                   Body of2001/09/14 letter from Clint Price to
                                                                                                                                                    Robert Siwicki and body of2001/09/14 letter
                                                                                                                                                    from Wil Ridington to Robert Siwicki
         12              BHI067408     N/A         2001-09-14                                                                                       redacted as attorney- client privileged
                                                              Email from Stine, Larry Laubach and Bruce Rosenfield to John S. Middleton:
22,23,24 (combined)         N/A        1203        2001-10-31 Audit/Tax Planning meeting-                                                           A/C
22,23,24 (combined)         N/A        1204        2001-10-31 Attachment to 1203: Confidentiality Agreement (Marked).doc                            A/C
22,23,24 (combined)         N/A        1205        2001-10-31 Attachment to 1203: ENGAGEMENT LETTER (Marked).doc                                    A/C
                                                              Attachment to 1203: EXPANDED ENGAGEMENT LETTER
22,23,24 (combined)         N/A        1206        2001-10-31 (Marked).doc                                                                          A/C
1/31/2017 BHISHM                                              Schnader handwritten document titled “Fran
    Production              N/A        N/A         2001-11-07 Middleton – Assets”                                                                   AC – FSM Executors Hold
1/31/2017 BHISHM                                              Letter from Bruce Rosenfield to HHMJR Re: Estate Planning
    Production              N/A        N/A         2001-11-09                                                                                       AC – FSM Executors Hold
         12                 N/A        453         2001-11-19 John S. Middleton letter to Robert Siwicki re discussions with Thorkelsons and        A/C
1/31/2017 BHISHM                                              Letter from Bruce Rosenfield to HHM JR Letter re: estate planning
    Production              N/A        N/A         2001-11-19                                                                                       AC – FSM Executors Hold
                                                              Memo of Bruce Rosenfield, Esq. to file re discussion with Robert Siwicki re
         3                  N/A         11         2001-11-21 engagement by counsel to assist in giving of legal advice to client Thorkelson        A/C
 1/31/2017 BHISHM                                             Letter from Bruce Rosenfield to John S. Middleton- Letter re: GRAT of Frances
     Production             N/A        N/A         2001-11-21                                                                                       AC – FSM Executors Hold
 1/31/2017 BHISHM                                             Memo from Roy Rossto Zack Zachariah, cc Bruce Rosenfield: re: GRAT, with
     Production             N/A        N/A         2001-11-27 attachment                                                                            AC – FSM Executors Hold
 1/31/2017 BHISHM                                             Schnader chart re: Bradford Holdings Inc.
     Production             N/A        N/A         2001-12-31                                                                                       AC – FSM Executors Hold
                                                              Lisa Haas letter to Michael Burke of Fleet M&A Advisors re list of Mortgages,
         12                 N/A        471         2002-01-10 Notes and Revolving Credit Lines.                                                     A/C
                                                                Projected Net Dollar Revenue by Brand for John Middleton, Inc.                      2002/04/18 -body of Michael Burke of Fleet
                                                                                                                                                    M&A Advisors email to Clint Price, Robert
                                                                                                                                                    Siwicki, A. Traynham (Fleet) with
                                                                                                                                                    handwritten note by Clint Price redacted as
         12              BHI067211     N/A         2002-01-22                                                                                       attorney-client privileged
                                                              blackline of BHI/Fleet Advisors agreement re access to proprietary
         3                  N/A         48         2002-01-25 information ofBHI                                                                     A/C
                                                              blackline of letter re Fleet Advisors' engagement to provide services to assist
         3                  N/A         49         2002-01-25 counsel in advising client                                                            A/C
                                                              blackline of letter re Fleet Advisors' engagement to provide services to assist
         3                  N/A         50         2002-01-25 counsel in advising client                                                            A/C
                                                              Clint Price to Michael J. Burke of Fleet M&A Advisors re John Middleton, Inc.,
         12                 N/A        461         2002-01-25 trademark information                                                                 A/C
                                                              blacklined draft of letter agreement with Fleet Advisors regarding
         3                  N/A         41         2002-01-30 engagement to provide services to assist counsel in advising client                   A/C
                                                                draft letter for review/comment by Schnader Harrison Segal & Lewis re
                                                                retention of Fleet Advisors to assist counsel in providing legal advice to client
         7                  N/A        320         2002-01-30                                                                                       A/C
                                                              draft Fleet Advisors engagement letter for review/comment by Bruce
         7                  N/A        360         2002-01-30 Rosenfield                                                                            A/C
 1/31/2017 BHISHM                                             Email from Roy Ross to Francis Orr, cc Nancy Pole re gift tax list
     Production             N/A        N/A         2002-02-02                                                                                       AC – FSM Executors Hold
                                                              Email from Larry Laubach to Siwicki, cc John S. Middleton, Annette Madison:
22,23,24 (combined)         N/A        1210        2002-02-15 Confidentiality Agreement                                                             A/C
22,23,24 (combined)         N/A        1211        2002-02-15 Attachment to 1210: 995974_1.DOC                                                      A/C
22,23,24 (combined)         N/A        1357        2002-02-15 Email from Siwicki to Larry Laubach: Confidentiality agreement                        A/C
 1/31/2017 BHISHM                                             Email from Roy Ross to Bruce Rosenfield, Francis Orr Nancy Pole re: Fran
     Production             N/A        N/A         2002-02-18 Middleton                                                                             AC – FSM Executors Hold
                                                                Email chain from Womble Carlyle to Bruce Rosenfield                                 Top emails among Bruce Rosenfield, Larry
                                                                                                                                                    Laubach and John S. Middleton redacted as
           8             BHI046191     N/A         2002-03-12                                                                                       attorney-client privileged
26, 27, 28 (combined)   BHICOZ041105   N/A         2002-03-12 Bruce Rosenfield Email to Larry Laubach re demand from Lucia Hughes                   Redacted body of email as A/C
                                                              Email from Larry Laubach to Siwicki, cc AF, John S. Middleton, Annette
22,23,24 (combined)         N/A        1214        2002-03-14 Madison: Confidentiality Agreement                                            A/C
22,23,24 (combined)         N/A        1215        2002-03-14 Attachment to 1214: YB$PDOC.DOC                                               A/C
 1/31/2017 BHISHM                                             3/18/2002 – 3/31/2015 Time entries for services provided by Cozen O’Connor
     Production             N/A        N/A         2002-03-18 attorneys to Bradford Holdings, Inc., relating from time to time to the Fleet A/C and W/P after 12/01/2013
 1/31/2017 BHISHM                                             Email from Bruce Rosenfield to Stine, cc John S. Middleton: re: agenda
     Production             N/A        N/A         2002-03-21                                                                               AC – FSM Executors Hold
 1/31/2017 BHISHM                                             Transmittal slip from Amy Newman to Bruce Rosenfield re: Middleton GRAT
     Production             N/A        N/A         2002-03-22                                                                               AC – FSM Executors Hold
                                                              3/25/2002 – 4/5/2002 and 12/16/2002 and 3/25/2004Time entries for
 1/31/2017 BHISHM                                             services provided by Cozen O’Connor attorneys to Hunter Services Company
     Production             N/A        N/A         2002-03-25 and Bradford Holdings, Inc. re Fleet Appraisal                                A/C
                                                              Email from Larry P. Laubach, Robert Siwicki, Patrick Hurley (Fleet), Daniel
                                                              Williams (Fleet), James E. Reilly (Fleet), cc John S. Middleton and Annette
22,23,24 (combined)         N/A        1190        2002-03-29 Madison: Re: Revised confidentiality agreement                                A/C
                                                              Email from Larry P. Laubach, Robert Siwicki, Patrick Hurley (Fleet), Daniel
                                                              Williams (Fleet), James E. Reilly (Fleet), cc John S. Middleton and Annetter
22,23,24 (combined)         N/A        1219        2002-03-29 Madison: Re: Revised confidentiality agreement                                A/C
                                                              Letter agreement between Schnader and Fleet Advisors regarding
         3                  N/A         33         2002-04-01 engagement to provide services to assist counsel in advising client.          A/C
                                                              Letter agreement between Schnader and Fleet Advisors regarding
         3                  N/A         38         2002-04-01 engagement to provide services to assist counsel in advising client.          A/C




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                                                           Letter between Schnader and Fleet Advisors regarding engagement for Built-
        3               N/A        54         2002-04-01   In Gains valuation to assist counsel in advising client                           A/C
                                                           Schnader letter engaging Fleet Advisors to provide valuation to assist counsel
        3               N/A        57         2002-04-01   in                                                                                A/C
                                                           Letter from Robert Siwicki to Bruce Rosenfield, Esq. regarding Schnader's
                                                           engagement of Fleet M&A Advisors to provide professional services to assist
        3               N/A        65         2002-04-01   counsel in advising client.                                                       A/C
                                                           Letter from Robert Siwicki to John S. Middleton regarding engagement for
        3               N/A        66         2002-04-01   Built-In Gains valuation                                                          A/C
                                                           Letter from Robert Siwicki to John S. Middleton regarding engagement for
        3               N/A        67         2002-04-01   Built-In Gains valuation                                                          A/C
                                                           Letter from Robert Siwicki to Bruce Rosenfield, Esq. regarding Schnader's
                                                           engagement of Fleet M&A Advisors to provide professional services to assist
        3               N/A        68         2002-04-01   counsel in providing advice to client                                             A/C
                                                           Letter from Robert Siwicki to Bruce Rosenfield, Esq. regarding Schnader's
                                                           engagement of Fleet M&A Advisors to provide professional services to assist
        3               N/A        69         2002-04-01   counsel in providing advice to client                                             A/C
                                                           Robert Siwicki letter to Bradford Holdings, Inc., re Fleet M&A Advisors'
        12              N/A       443         2002-04-01   engagement for built-in gains evaluation. (JDG)                                   A/C
        12              N/A       444         2002-04-01   Addendum to letter listed above                                                   A/C
                                                           Robert Siwicki letter to Bruce Rosenfield regarding Fleet Securities, Inc.,
                                                           engagement for valuation of common shares of Bradford Holdings, Inc., to
                                                           assist counsel in providing advice to client, executed by Robert Siwicki, Bruce
                                                           Rosenfield and John S. Middleton on behalf of Bradford Holdings, Inc.
        12              N/A       448         2002-04-01                                                                                     A/C
                                                           Robert Siwicki letter to Bruce Rosenfield regarding Fleet Securities, Inc.,
                                                           engagement for valuation of common shares of Bradford Holdings, Inc., to
                                                           assist counsel in providing advice to client, executed by Robert Siwicki, Bruce
                                                           Rosenfield and John S. Middleton on behalf of Bradford Holdings, Inc.
        12              N/A       449         2002-04-01                                                                                     A/C
                                                         Email from Larry P. Laubach, Robert Siwicki, Patrick Hurley (Fleet), Daniel
                                                         Williams (Fleet), James E. Reilly (Fleet), cc John S. Middleton and Annette
22,23,24 (combined)     N/A       1220        2002-04-01 Madison: Re: Revised confidentiality agreement                                      A/C
22,23,24 (combined)     N/A       1221        2002-04-01 Attachment to 1220: YBMDDOC_.doc                                                    A/C
1/31/2017 BHISHM                                         Email from Nancy Pole FP re Fran Middleton
    Production          N/A       N/A         2002-04-02                                                                                     AC – FSM Executors Hold
1/31/2017 BHISHM                                         Email from Nancy Pole to FO re: Middleton GRAT
    Production          N/A       N/A         2002-04-02                                                                                     AC – FSM Executors Hold
                                                         Bruce Rosenfield, Esq. letter to John S. Middleton, cc to Larry Laubach, Esq.,
        3               N/A        34         2002-04-03 re Fleet Engagement Letter                                                          A/C
                                                         BHI Standard Journal Entries posted 2004/4/30 for Fleet-Project Apple I-            2002/04/03 Letter from Bruce Rosenfield to
                                                         Retainer Fee and Fleet-Valuation as of 2/1/01, and supporting documents.            John Middleton re Fleet Engagement letter,
                                                                                                                                             cc to Larry Laubach, redacted as attorney-
        11            BHI057025   N/A         2002-04-03                                                                                     client privileged
                                                         Larry Laubach letter to Robert Siwicki re Built-In Gains Valuation and
        12              N/A       459         2002-04-03 confidentiality agreements                                                          A/C
                                                         Letter from Larry Laubach, Esq., to Bruce Rosenfield, Esq., in capacity as
                                                         counsel to Bradford, enclosing 2002/03/12 analysis of BHI prepared by Ernst
                                                         & Young at request of counsel to assist counsel in providing legal advice to
        3               N/A        10         2002-04-05 BHI regarding conversion from C-Corp to S-Corp status                               A/C
1/31/2017 BHISHM                                         Email from Bruce Rosenfield to John S. Middleton- re: GRAT assignment
    Production          N/A       N/A         2002-04-05                                                                                     AC – FSM Executors Hold
1/31/2017 BHISHM                                         Email from Mr. and Mrs. John S. Middleton to Bruce Rosenfield: re:
    Production          N/A       N/A         2002-04-05 assignment                                                                          AC – FSM Executors Hold
                                                         Email from Nancy Pole to Francis Orr re Frances Middleton
1/31/2017 BHISHM
    Production          N/A       N/A         2002-04-06                                                                                     AC – FSM Executors Hold
                                                           4/8/2002; 6/4/2002; 9/9/2002; and 12/20/2002 Assignments executed by
1/31/2017 BHISHM                                           John S. Middleton re: distributions from Bradford Holdings, Inc., with
    Production          N/A       N/A         2002-04-08   attachments                                                                       AC – FSM Executors Hold
1/31/2017 BHISHM                                           4/8/2002; 6/4/2002; 9/9/2002; and 12/20/2002 Assignments executed by
    Production          N/A       N/A         2002-04-08   John S. Middleton re: distributions from Bradford Holdings, Inc.                  AC – FSM Executors Hold
1/31/2017 BHISHM                                           Transmittal Slip from Amy Newman to Francis Orr re: info on GRAT of Frances
    Production          N/A       N/A         2002-04-10   Middleton, with attachments                                                       AC – FSM Executors Hold
1/31/2017 BHISHM                                           4/11/2002 through 2/28/2003 Transaction History for the account of John S.
    Production          N/A       N/A         2002-04-11   Middleton TTEE, Frances S. Middleton GRAT 2/1/01                                  A/C
                                                         Larry Laubach letter to Robert Siwicki re Thorkelson/Smith purchase
        12              N/A       457         2002-04-17 agreements                                                                          A/C
        12              N/A       460         2002-05-14 Clint Price letter to Robert Siwicki re John Middleton, Inc.                        A/C
                                                         Letter from Robert Siwicki to Bruce A. Rosenfield, Esq., regarding draft
                                                         valuation requested by counsel to assist counsel in providing legal advice to
        3               N/A        37         2002-07-30 client                                                                              A/C
1/31/2017 BHISHM                                         Schnader chart titled “Bradford Holdings Co. Summary of Ownership”
    Production          N/A       N/A         2002-07-31                                                                                     AC – FSM Executors Hold
                                                         Frances S. Middleton handwritten notes regarding discussions with Bruce
        8               N/A       400         2002-08-25 Rosenfield on gifting issues and tax issues                                         Attorney Client - FSM Executors
                                                         Letter agreement with Fleet Advisors regarding access to confidential BHI
                                                         information in connection with engagement to provide services to assist
        3               N/A        56         2002-08-31 counsel in advising client                                                          A/C
                                                         Transmittal Slip from Rose Kennedy to RR- Transmittal Slip, with chart
1/31/2017 BHISHM                                         attached re: summary of current/future ownership of Bradford Holdings Inc.
    Production          N/A       N/A         2002-09-06 stock of Herbert H. Middleton, Jr. and Frances S. Middleton Family                  AC – FSM Executors Hold
1/31/2017 BHISHM                                           Email from FO to RR and Bruce Rosenfield, re: Bruce Rosenfieldadford
    Production          N/A       N/A         2002-09-09                                                                                     AC – FSM Executors Hold




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1/31/2017 BHISHM                                        Email from Bruce Rosenfield to Nancy Pole, FO, cc RR Zack Zachariah re
    Production         N/A        N/A        2002-09-23 Frances Middleton                                                               AC – FSM Executors Hold
1/31/2017 BHISHM                                        Memo from FO to RR, cc Bruce Rosenfield and Nancy Pole: Memorandum re:
    Production         N/A        N/A        2002-09-23 Frances Middleton Gift Tax Return                                               AC – FSM Executors Hold
1/31/2017 BHISHM                                        Email from Bruce Rosenfield to FO re: Frances Middleton
    Production         N/A        N/A        2002-09-23                                                                                 AC – FSM Executors Hold
1/31/2017 BHISHM                                        Schnader handwritten notes re: telephone call with Stephanie and RTC
    Production         N/A        N/A        2002-10-09 account for GRAT                                                                AC – FSM Executors Hold
1/31/2017 BHISHM                                        From Nancy Pole to Frank Orr Re: certified mail of 10/15
    Production         N/A        N/A        2002-10-16                                                                                 AC – FSM Executors Hold
                                                        Fleet Advisors Built in Gains Valuation as of2/l/2001, prepared pursuant to
       3               N/A        36         2002-11-22 engagement by counsel to assist in providing legal advice to client.            A/C
                                                        Fleet "Built in Gains Valuation of Certain Bradford Holdings, Inc. Subsidiaries
                                                        as of February 1, 2001" prepared at request of counsel to assist in providing
       6               N/A        217        2002-11-22 legal advice to BHI.                                                            A/C
                                                        Built in Gains Valuation ofBHI and Subsidiaries dated as of February 1, 2001
      12               N/A        445        2002-11-22                                                                                 A/C
                                                        Built in Gains Valuation ofBHI and Subsidiaries dated as of February 1, 2001
      12               N/A        446        2002-11-22                                                                                 A/C
                                                        Built in Gains Valuation ofBHI and Subsidiaries dated as of February 1, 2001
      12               N/A        447        2002-11-22                                                                                 A/C
                                                        Robert Siwicki letter to John S. Middleton regarding proprietary information
      12               N/A        441        2002-11-26                                                                                 A/C
      12               N/A        440        2002-12-03 John S. Middleton letter to Robert Siwicki regarding record retention           A/C
                                                        Emails from Stine to Laubach RE FW: Middleton reasearch                         Body of email from L. Laubach to J. Stine, R.
                                                                                                                                        Silpe and of J. Stine response to L. Laubach
                                                                                                                                        and R. Silpe redacted as attorney/client
                                                                                                                                        privileged. Financial advisor required to
                                                                                                                                        assist counsel in providing legal advice to
      20           BHICOZ015564   N/A        2003-01-22                                                                                 client
                                                        Email from Stine to MacDonough CC Laubach Re Promissory note and stock edacted body of email among J. Stine, L.
                                                        purchase agreement                                                              MacDonough and L. Laubach as
                                                                                                                                        attorney/client privileged. Financial advisor
                                                                                                                                        required to assist counsel in providing legal
      20           BHICOZ017637   N/A        2003-01-31                                                                                 advice to client
                                                        Email from Laubach to Stine and Silpe : FW Bradford/Hughes                      Redacted body of email from L. Laubach to J.
                                                                                                                                        Stine as attorney/client privileged. Financial
                                                                                                                                        advisor required to assist counsel in
      20           BHICOZ018904   N/A        2003-01-31                                                                                 providing legal advice to client
                                                        Email from Laubach to Stine FW Bradford/Hughes                                  Redacted body of email from L. Laubach to J.
                                                                                                                                        Stine as attorney/client privileged. Financial
                                                                                                                                        advisor required to assist counsel in
      20           BHICOZ027788   N/A        2003-01-31                                                                                 providing legal advice to client
                                                        Email from John Stine to Laura MacDonough; Bruce Rosenfield; Roy Ross;
      20               N/A        740        2003-02-05 Larry P. Laubauch Re: 82 Stock POA                                              A/C
                                                        Email from Rosenfield to Laubach RE John's 1996 Trust
                                                                                                                                        Redacted email between B. Rosenfield and L.
                                                                                                                                        Laubach regarding J. Middleton/L. Middleton
                                                                                                                                        trust for benefit of their children as non-
      20           BHICOZ019166   N/A        2003-02-06                                                                                 responsive and attorney/client privileged
                                                        Email from Stine to MacDonough CC Laubach Re Promissory note and stock Redacted body of J. Stine email to L.
                                                        purchase agreement                                                              Laubach, L. MacDonough as attorney/client
                                                                                                                                        privileged. Financial advisor required to
                                                                                                                                        assist counsel in providing legal advice to
      20           BHICOZ030150   N/A        2003-02-08                                                                                 client
                                                        Email from Stine to Laubach Re Changes (Attachments Removed)                    Redacted body of emails among J. Stine, L.
                                                                                                                                        Laubach, L. MacDonough as attorney/client
                                                                                                                                        privileged. Financial advisor required to
                                                                                                                                        assist counsel in providing legal advice to
        20         BHICOZ02205    N/A        2003-02-18                                                                                 client
1/31/2017 BHISHM                                        Transmittal slip from Amy Newman to Zacharia re: Middleton 709 for GRAT,
    Production         N/A        N/A        2003-03-01 with attachments                                                                AC – FSM Executors Hold
                                                        Email from Laubach to Stine FW: Proposed Dates for Settlement Documents Redacted body of email among L. Laubach, S.
                                                                                                                                        Barbakoff, J. Stine and J. Middleton as
                                                                                                                                        attorney/client privileged. Financial advisor
                                                                                                                                        required to assist counsel in providing legal
      20           BHICOZ03561    N/A        2003-03-06                                                                                 advice to client
                                                        Schnader invoice re Frances S. Middleton
       8               N/A        395        2003-03-25                                                                                 Attorney Client - FSM Executors
                                                        Schnader invoice re Frances S. Middleton
      8                N/A        396        2003-03-25                                                                                 Attorney Client - FSM Executors
      12               N/A        438        2004-03-25 Robert Siwicki letter to Larry Laubach regarding proprietary materials          A/C
      12               N/A        439        2004-03-25 Larry Laubach letter to Robert Siwicki regarding proprietary materials          A/C
                                                        Email from Laubach to Stine FW Hughes/Middleton Settlement                      Redacted body of email from L. Laubach to J.
                                                                                                                                        Stine as attorney/client privileged. Financial
                                                                                                                                        advisor required to assist counsel in
      20           BHICOZ021206   N/A        2004-04-06                                                                                 providing legal advice to client
                                                        Email from Laubach to Rosenfield RE Middleton- Various                          Redacted bodies of emails between L.
                                                                                                                                        Laubach and B. Rosenfield regarding
                                                                                                                                        personal legal issue relating to J. and
                                                                                                                                        L.Middleton and their children as non-
      20           BHICOZ019743   N/A        2004-05-14                                                                                 responsive and attorney-client privileged




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                                                                Email from Laubach to Rosenfield and Newman Re Middleotn- Various             Redacted portion of LPL email regarding
                                                                                                                                              issue relating to John Middleton personal
                                                                                                                                              matter as attorney/client privileged and non-
         20             BHICOZ016752   N/A         2004-05-19                                                                                 responsive
 1/31/2017 BHISHM                                               Schnader attorney’s handwritten notes re: McCabe accounts
     Production             N/A        N/A         2004-11-29                                                                                 W/P
                                                              Cozen 14-05 Invoice.pdf (Cozen invoice with time entries relating to
                                                              representation of John S. Middleton as Executor of the Estate of Frances
22,23,24 (combined)         N/A        928         2005-01-01 Middleton                                                                      Attorney Client - FSM Executors
1/31/2017 BHISHM                                              Memo from Bruce Rosenfield to File, cc RR Memorandum re: Fran Middleton
    Production              N/A        N/A         2005-03-25                                                                                AC – FSM Executors Hold
                                                              Bruce Rosenfield letter to Frances Middleton re Revocable Trust amendments
26, 27, 28 (combined)       N/A        1407        2005-04-27                                                                                A/C – FSM Executors
 1/31/2017 BHISHM                                             Letter from Bruce Rosenfield to Frances Middleton re: Revocable Trust, with
     Production             N/A        N/A         2005-04-27 attachment                                                                     AC – FSM Executors Hold
 1/31/2017 BHISHM                                             Schnader attorney’s handwritten notes re: conference with Bruce on
     Production             N/A        N/A         2005-05-02 Middleton, Bradford Holdings, Inc. and Fran’s 2001 GRAT                        A/C
 1/31/2017 BHISHM                                             Schnader handwritten notes re: Fran Middleton
     Production             N/A        N/A         2005-07-08                                                                                AC – FSM Executors Hold
                                                              Bruce Rosenfield letter to Frances S. Middleton re estate planning.
         8                  N/A        372         2005-07-12                                                                                Attorney Client - FSM Executors
                                                              Bruce Rosenfield letter to Frances S. Middleton re estate planning, with
           8                N/A         373        2005-07-12 handwritten notes                                                              Attorney Client - FSM Executors
26, 27, 28 (combined)       N/A        1408        2005-07-12 Bruce Rosenfield letter to Frances Middleton re Estate Planning                A/C – FSM Executors
 1/31/2017 BHISHM                                             From Bruce Rosenfield to Frances Middleton-Letter re: estate planning
     Production             N/A        N/A         2005-07-12                                                                                AC – FSM Executors Hold
                                                              Bruce Rosenfield letter to Frances s. Middleton re gift tax issues
         8                  N/A        376         2005-09-29                                                                                Attorney Client - FSM Executors
                                                              Email from Rosenfield to Laubach: Re: Buy out documents                        Redacted body of email between B.
         20             BHICOZ023835   N/A         2006-01-30                                                                                Rosenfield and L. Laubach re company
                                                              Emails among Nancy Pole, Bruce Rosenfield, Amy Newman, Nadine Doolittle Redacted portions of email relating to J.
                                                                                                                                             Middleton and Hugehs Family Trusts for
                                                                                                                                             which Anna Nupson is not a beneficiary as
         25             BHISH042019    N/A         2006-12-04                                                                                non-responsive and A/C
 1/31/2017 BHISHM                                             From Bruce Rosenfield- Transmittal Slip for the File, with attachment from
     Production             N/A        N/A         2007-11-01 Fran Middleton                                                                 AC – FSM Executors Hold
                                                              3/27/2008 – 10/10/2013Time entries for services provided by Cozen
                                                              O’Connor attorneys to Frances S. Middleton relating to estate planning during
1/31/2017 BHISHM                                              her life, and thereafter to the Executor of the Estate of Frances S. Middleton
    Production              N/A        N/A         2008-03-27                                                                                A/C
22,23,24 (combined)         N/A        969         2008-06-23 Email from Rosenfield to John S. Middleton: RE Fran/Anna                       A/C
                                                              6/26/2008; 7/25/2008; 9/17/2008; and 12/9/2008 Cozen to Frances S.
                                                              Middleton c/o John Stine: Invoices for Professional Services (Bates Nos. CO
 1/31/2017 BHISHM
                                                              000629 – 641)
     Production             N/A        N/A         2008-06-26                                                                                AC – FSM Executors Hold
 1/31/2017 BHISHM                                             Email From Margaret Thompson to Bruce Rosenfield: Re: Fran Middleton
     Production             N/A        N/A         2008-09-13                                                                                AC – FSM Executors Hold
                                                              2008/11/19- Letter from Margaret Thompson to Frances S. Middleton re
         4                  N/A        118         2008-11-19 gifting                                                                        A/C- FSM Executors
                                                              Letter from Margaret Thompson to Frances S. Middleton re gifting with
         4                  N/A        119         2008-11-19 handwritten note                                                               A/C- FSM Executors
                                                               Letter from Margaret Thompson to Frances S. Middleton re gifting
         4                  N/A        121         2008-11-19                                                                                A/C- FSM Executors
                                                               Letter from Margaret Thompson to Frances S. Middleton re gifting
         4                  N/A        122         2008-11-19                                                                                A/C- FSM Executors
                                                              Margaret Thompson, Esq., letter to Frances S. Middleton re gifting
         8                  N/A        392         2008-11-19                                                                                Attorney Client - FSM Executors
                                                              Emails between John Middleton and Bruce Rosenfield                             Redacted as non-responsive and
                                                                                                                                             attorney/client privileged portions of emails
                                                                                                                                             relating to personal legal matters for J.
                                                                                                                                             Middleton, i.e., matters other than Anna
                                                                                                                                             Nupson or trust for which she is a
         21             BHISH003540    N/A         2008-12-18                                                                                beneficiary
                                                              Email from Larry Laubach to Bruce Rosenfield, cc Roy Ross RE: John
22,23,24 (combined)         N/A        1285        2008-12-18 Middleton                                                                      A/C
                                                              1/26/2009;
                                                              3/17/2009;
                                                              4/16/2009;
                                                              5/14/2009;
                                                              6/29/2009;
                                                              7/24/2009;
                                                              9/25/2009;
                                                              11/24/2009;
                                                              and
 1/31/2017 BHISHM                                             12/15/2009 Cozen to Frances S. Middleton c/o John Stine: Invoices for
     Production             N/A        N/A         2009-01-26 Professional Services (Bates Nos. CO 000642 – 677)                             AC – FSM Executors Hold
                                                               Letter from Margaret Thompson to Frances S. Middleton re gifting
         4                  N/A        123         2009-05-28                                                                                A/C- FSM Executors
                                                              M. Thompson letter to Frances S. Middleton, with Frances Middleton
26, 27, 28 (combined)   BHI00086549    N/A         2009-06-12 handwritten notes                                                              Redacted body of letter as A/C




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                                                              Emails between Bruce Rosenfield and John Middleton                            Redacted as non-responsive and
                                                                                                                                            attorney/client privileged portions of emails
                                                                                                                                            relating to personal estate planning for J.
                                                                                                                                            Middleton and employee issues, i.e., matters
                                                                                                                                            other than Anna Nupson or trust for which
        21            BHISH003754    N/A         2009-07-07                                                                                 she is a beneficiary
                                                              Emails between Bruce Rosenfield and John Middleton                            Redacted as non-responsive portion of
                                                                                                                                            emails relating to personal information of
                                                                                                                                            Bruce Rosenfield family member, i.e.,
                                                                                                                                            matters other than Anna Nupson or trust for
        21            BHISH003571    N/A         2009-09-14                                                                                 which she is a beneficiary
                                                              From John S. Middleton to Bruce Rosenfield, cc Larry Laubach: Anna's Trusts
22,23,24 (combined)       N/A        1251        2009-12-02                                                                                 A/C
                                                            Email from Bruce Rosenfield to Larry Laubach, Margaret Thompson cc, Amy
22,23,24 (combined)       N/A        1280        2009-12-02 Newman (Schnader): Re: Letter re Anna Nupson 1994 Trust                         A/C
                                                             Letter from Margaret Thompson to Frances S. Middleton re gifting
        4                 N/A        124         2009-12-09                                                                                 A/C- FSM Executors
                                                            1/19/2010;
                                                            2/25/2010;
                                                            4/14/2010;
                                                            5/13/2010;
                                                            6/14/2010;
                                                            7/22/2010;
                                                            8/26/2010;
                                                            9/15/2010;
                                                            10/25/2010;
                                                            11/11/2010;
                                                            and
1/31/2017 BHISHM                                            12/6/2010 Cozen to Frances S. Middleton c/o John Stine: Invoices for
    Production            N/A        N/A         2010-01-19 Professional Services (Bates Nos. CO 000678 – 720)                              AC – FSM Executors Hold
        20                N/A        558         2010-06-01 Email from Margaret Thompson to Laubach- Re: Fran                               A/C
                                                            Email from Bruce Rosenfield and John S. Middleton to Larry Laubach FW:
22,23,24 (combined)   BHICOZ032446   N/A         2010-08-31 Proposal                                                                        [Blank]
22,23,24 (combined)       N/A        1284        2010-10-28 Email from Bruce Rosenfield to Larry Laubach Re: Tom Hughes                     A/C
                                                 2010-10-29 Email from Larry Laubach to Kipnes, cc Bruce Rosenfield, Margaret Thompson      Attorney Client
22,23,24 (combined)       N/A        1389                   and ND- FW: Middleton 1982 Trust
                                                            Email from Kipnes to Larry Laubach, cc Bruce Rosenfield, Margaret Thompson      Attorney Client / Work Product
22,23,24 (combined)       N/A        1390        2010-10-29 and ND- FW: Middleton 1982 Trust
                                                            Email from Bruce Rosenfield to Margaret Thompson, cc Larry Laubach: RE:
22,23,24 (combined)       N/A        1281        2010-11-09 Anna Trust                                                                      A/C
                                                            Emails among Roberta McAndrew (Schnader), Bruce Rosenfield and John             Redacted as non-responsive personal
                                                            Middleton                                                                       information relating to Leigh Middleton, i.e.,
                                                                                                                                            matters other than Anna Nupson or trust for
        21            BHISH003950    N/A         2011-01-12                                                                                 which she is a beneficiary
                                                              Emails between John Middleton and Bruce Rosenfield                            Redacted as non-responsive personal
                                                                                                                                            information relating to Leigh Middleton, i.e.,
                                                                                                                                            matters other than Anna Nupson or trust for
        21            BHISH003963    N/A         2011-01-12                                                                                 which she is a beneficiary
                                                            1/26/2011;
                                                            3/16/2011;
                                                            4/20/2011;
                                                            5/26/2011;
                                                            6/10/2011;
                                                            7/26/2011;
                                                            8/15/2011;
                                                            9/21/2011;
                                                            10/24/2011;
                                                            11/15/2011;
                                                            and
1/31/2017 BHISHM                                            12/9/2011 Cozen to Frances S. Middleton c/o John Stine: Invoices for
    Production            N/A        N/A         2011-01-26 Professional Services (Bates Nos. CO 000721 – 754)                              AC – FSM Executors Hold
                                                            Emails between Bruce Rosenfield and John Middleton                              Redacted as non-responsive and
                                                                                                                                            attorney/client privileged portions of emails
                                                                                                                                            relating to personal estate planning for J.
                                                                                                                                            Middleton, i.e., matters other than Anna
                                                                                                                                            Nupson or trust for which she is a
        21            BHISH003769    N/A         2011-03-07                                                                                 beneficiary
                                                              Emails between Bruce Rosenfield and John Middleton                            Redacted as non-responsive and
                                                                                                                                            attorney/client privileged portions of emails
                                                                                                                                            relating to personal estate planning for J.
                                                                                                                                            Middleton, i.e., matters other than Anna
                                                                                                                                            Nupson or trust for which she is a
        21            BHISH003751    N/A         2011-03-08                                                                                 beneficiary
                                                              Emails between Bruce Rosenfield and John Middleton                            Redacted as non-responsive and
                                                                                                                                            attorney/client privileged portions of emails
                                                                                                                                            relating to personal estate planning for J.
                                                                                                                                            Middleton, i.e., matters other than Anna
                                                                                                                                            Nupson or trust for which she is a
        21            BHISH003756    N/A         2011-04-27                                                                                 beneficiary
                                                              Emails between John Middleton and Bruce Rosenfield                            Redacted as non-responsive and
                                                                                                                                            attorney/client privileged portions of emails
                                                                                                                                            relating to personal estate planning for J.
                                                                                                                                            Middleton, i.e., matters other than Anna
                                                                                                                                            Nupson or trust for which she is a
        21            BHISH003538    N/A         2011-04-27                                                                                 beneficiary




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                                                              Emails between Bruce Rosenfield, Leah Ricci and John S. Middleton        Redacted as non-responsive portions of
                                                                                                                                       emails relating to matters other than Anna
                                                                                                                                       Nupson or trust for which she is a
        19            BHISH00 1077   N/A         2011-10-07                                                                            beneficiary
                                                              Emails between Bruce Rosenfield and JohnMiddleton                        Redacted as non-responsive and
                                                                                                                                       attorney/client privileged portions of emails
                                                                                                                                       relating to personal financial account
                                                                                                                                       numbers of J. Middleton, i.e., matters other
                                                                                                                                       than Anna Nupson or trust for which she is a
        21            BHISH003554    N/A         2011-11-03                                                                            beneficiary
                                                            1/13/2012;
                                                            2/21/2012;
                                                            4/16/2012;
                                                            5/23/2012;
                                                            6/20/2012;
                                                            7/23/2012;
                                                            8/23/2012;
                                                            9/27/2012;
                                                            10/18/2012;
                                                            11/15/2012;
                                                            and
1/31/2017 BHISHM                                            12/12/2012 Cozen to Frances S. Middleton c/o John Stine: Invoices for
    Production            N/A        N/A         2012-01-13 Professional Services (Bates Nos. CO 000755 – 789)                         AC – FSM Executors Hold
                                                            Email from Bruce Rosenfield to Stine, cc Larry Laubach: Middleton 2/1/01
22,23,24 (combined)       N/A        1286        2012-01-18 Trust FBO Anna Middleton                                                   A/C
                                                            Emails among Larry Laubach, Bruce Rosenfield, John Middleton and John      Redacted as non-responsive and
                                                            Stine                                                                      attorney/client privileged portions of emails
                                                                                                                                       relating to personal estate planning for J.
                                                                                                                                       Middleton, i.e., matters other than Anna
                                                                                                                                       Nupson or trust for which she is a
        21            BHISH003521    N/A         2012-06-01                                                                            beneficiary
                                                              Emails among Bruse Rosenfield, Jennfer Stoudt and Roberta McAndrew       Redacted portions of emails relating to J.
        25            BHISH040533    N/A         2012-06-01                                                                            Middleton personal estate planning
                                                              Emails between Bruce Rosenfield and John Middleton
                                                                                                                                       Redacted as non-responsive and
                                                                                                                                       attorney/client privileged portions of emails
                                                                                                                                       relating to Leigh Middleton’s mother, i.e.,
                                                                                                                                       matters other than Anna Nupson or trust for
        21            BHISH003793    N/A         2012-08-15                                                                            which she is a beneficiary.
                                                              Emails between John Middleton and Bruce Rosenfield                       Redacted as non-responsive portion of
                                                                                                                                       emails relating to personal information of
                                                                                                                                       Bruce Rosenfield family member, i.e.,
                                                                                                                                       matters other than Anna Nupson or trust for
        21            BHISH039999    N/A         2012-08-27                                                                            which she is a beneficiary
                                                            Email from Bruce Rosenfield to John S. Middleton, CC Larry Laubach: RE
22,23,24 (combined)       N/A        989         2012-08-27 Anna's Request                                                             A/C
                                                            Emails between John Middleton and Bruce Rosenfield                         Redacted as non-responsive portion of
                                                                                                                                       emails relating to personal issues of Bruce
                                                                                                                                       Rosenfield family member, i.e., matters
                                                                                                                                       other than Anna Nupson or trust for which
        21            BHISH003823    N/A         2012-08-31                                                                            she is a beneficiary
                                                              Emails among Larry Laubach, Bruce Rosenfield and John Middleton          Redacted as non-responsive portion of
                                                                                                                                       emails relating to personal information of
                                                                                                                                       Bruce Rosenfield family member, i.e.,
                                                                                                                                       matters other than Anna Nupson or trust for
        21            BHISH003628    N/A         2012-08-31                                                                            which she is a beneficiary
                                                              Emails among Larry Laubach, Bruce Rosenfield and John Middleton          Redacted as non-responsive portion of
                                                                                                                                       emails relating to personal information of
                                                                                                                                       Bruce Rosenfield family member, i.e.,
                                                                                                                                       matters other than Anna Nupson or trust for
        21            BHISH003714    N/A         2012-08-31                                                                            which she is a beneficiary
                                                              Emails between John Middleton and Bruce Rosenfield                       Redacted as non-responsive and
                                                                                                                                       attorney/client privileged portions of emails
                                                                                                                                       relating to personal estate planning for J.
                                                                                                                                       Middleton, i.e., matters other than Anna
                                                                                                                                       Nupson or trust for which she is a
        21            BHISH003770    N/A         2012-09-21                                                                            beneficiary
                                                            Email from Rosenfield to Larry Laubach and John S. Middleton: Re: Family
22,23,24 (combined)       N/A        1010        2012-12-22 Agreement                                                                  A/C
                                                            Email from Rosenfield to Larry Laubach and John S. Middleton: Re: Family
22,23,24 (combined)       N/A        1011        2012-12-22 Agreement                                                                  A/C
                                                            Email from Rosenfield to Larry Laubach and John S. Middleton: Re: Family
22,23,24 (combined)       N/A        1012        2012-12-22 Agreement                                                                  A/C
                                                            Email from Rosenfield to Larry Laubach and John S. Middleton: Re: Family
22,23,24 (combined)       N/A        1013        2012-12-22 Agreement                                                                  A/C
                                                            Email from Rosenfield to Larry Laubach anc John S. Middleton: Re: Family
22,23,24 (combined)       N/A        1014        2012-12-22 Agreement                                                                  A/C
                                                            Email from Rosenfield to Larry Laubach anc John S. Middleton: Re: Family
22,23,24 (combined)       N/A        1015        2012-12-22 Agreement                                                                  A/C
22,23,24 (combined)       N/A        1016        2012-12-22 Email from Stine to John S. Middleton, CC Larry Laubach: Re Frances        A/C




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                                                            1/22/2013;
                                                            2/22/2013;
                                                            3/25/2013;
                                                            4/10/2013;
                                                            5/23/2013;
                                                            6/17/2013;
                                                            7/23/2013;
                                                            8/30/2013;
                                                            9/12/2013;
                                                            and
1/31/2017 BHISHM                                            11/12/2013 Cozen to Frances S. Middleton c/o John Stine: Invoices for
    Production            N/A        N/A         2013-01-22 Professional Services (Bates Nos. CO 000790 – 827)                             AC – FSM Executors Hold
                                                            Email from Thompson to John S. Middleton CC Larry Laubach: Follow-Up
22,23,24 (combined)       N/A        1066        2013-03-05                                                                                Attorney Client - FSM Executors
                                                            Email from Thompason to John S. Middleton, CC Larry Laubach: RE: Follow-Up
22,23,24 (combined)       N/A        1067        2013-03-12                                                                                Attorney Client - FSM Executors
                                                            Email from John S. Middleton and Larry Laubach to Margaret Thompson: RE:
22,23,24 (combined)       N/A        1071        2013-03-14 Certification of Incapacity                                                    Attorney Client - FSM Executors
                                                            Email from Larry Laubach and Margaret Thompson to John S. Middleton:
22,23,24 (combined)       N/A        1072        2013-03-15 Certification of Incapacity                                                    Attorney Client - FSM Executors
                                                            Email from Margaret Thompson and Larry Laubach to Bruce Rosenfield: Fw:
22,23,24 (combined)   BHICOZ033062   N/A         2013-04-08 FW: Thomas M. Hughes                                                           Redacted body of email as A/C
                                                            Email from Bruce Rosenfield to John S. Middleton, CC Larry Laubach: FW: TUA
22,23,24 (combined)       N/A        1075        2013-04-28 Anna M. Bauer-letter to J. Murphy (4.26.13)                                    A/C
                                                            Emails among Rosemary Maher, Michael Kelly and Bruce Rosenfield                Redacted portion of email unrelated to Anna
                                                                                                                                           Nupson or any trust for which she is a
        25            BHISH029638    N/A         2013-08-05                                                                                beneficiary
                                                            Notes of Stine re telephone conference with M. Thompson (Counsel for
      29, 31              N/A        1412        2013-09-12 Frances S. Middleton) Prod. No. 31                                             A/C – FSM Executors
1/31/2017 BHISHM                                            9/25/2013 – 11/30/2015 Time entries for services provided by Cozen
    Production            N/A        N/A         2013-09-25 O’Connor attorneys to Executor of the Estate of Frances S. Middleton           A/C and W/P after 12/01/2013
                                                            09/26/2013 – 10/22/2015 Time entries for services provided by Cozen
1/31/2017 BHISHM                                            O’Connor attorneys to John S. Middleton as trustee for the 1998 Revocable
    Production            N/A        N/A         2013-09-26 Trust of Frances S. Middleton                                                  A/C and W/P after 12/01/2013
                                                            Emails between Bruce Rosenfield and John Middleton regarding probate of
        21                N/A        921         2013-10-16 Estate of Frances Middleton                                                    A/C
                                                            Emails between Bruce Rosenfield and John Middleton regarding probate of
        21                N/A        922         2013-10-16 Estate of Frances Middleton                                                    A/C
                                                            Emails between Bruce Rosenfield and John Middleton regarding probate of
        21                N/A        923         2013-10-16 Estate of Frances Middleton                                                    A/C
                                                            Email from Nadine Doolittle to Bruce Rosenfield cc Nancy Pole: FW: E/O
        25                N/A        1391        2013-10-16 Frances Middleton                                                              A/C
        25                N/A        1392        2013-10-16 Attachment to 1391 - re Estate of Frances S. Middleton                         A/C
        25                N/A        1393        2013-10-16 Email from Bruce Rosenfield to Nadine Doolittle: E/O Frances Middleton         A/C
        25                N/A        1394        2013-10-16 Attachment to 1393 - re Estate of Frances S. Middleton                         A/C
                                                            Email from Nadine Doolittle and Nancy Pole to Bruce Rosenfield: E/O Frances
        25                N/A        1395        2013-10-17 Middleton                                                                      A/C
        25                N/A        1396        2013-10-17 Attachment to 1395 - re Estate of Frances S. Middleton                         A/C
                                                            Email from John S. Middleton to Margaret Thompson, CC Larry Laubach: Re:
22,23,24 (combined)       N/A        1088        2013-10-19 Legal Fees                                                                     Attorney Client - FSM Executors
                                                            Email from Margaret Thompson to John S. Middleton and Larry Laubach: RE:
22,23,24 (combined)       N/A        1086        2013-10-21 Legal Fees                                                                     Attorney Client - FSM Executors
                                                            Email from John S. Middleton to Larry Laubach CC Margaret Thompson: RE:
22,23,24 (combined)       N/A        1087        2013-10-21 Legal Fees                                                                     Attorney Client - FSM Executors
                                                 2013-10-22 Email from Bruce Rosenfield to Larry Laubach and Stine and Margaret            Attorney Client / Work Product
                                                            Thompson, cc Nadine Doolittle FW: 1994 Anna Trusts fbo Hughes and
22,23,24 (combined)       N/A        1381                   Middleton
                                                            Margaret Thompson, Esq. communication to John Middleton regarding
        18                N/A        479         2013-11-05 bequests and probate                                                           Attorney Client
                                                            Email from Margaret Thompson to John S. Middleton, CC Larry Laubach:
22,23,24 (combined)       N/A        1084        2013-11-05 Checking In                                                                    Attorney Client - FSM Executors
                                                            Attachment to 1084: LEGAL 17594867v1 Middleton e-memo to
22,23,24 (combined)       N/A        1085        2013-11-05 John Middleton.pdf                                                             Attorney Client - FSM Executors
                                                 2013-11-05 Email from Bruce Rosenfield and Stine to Margaret Thompson, cc Larry           Attorney Client / Work Product
                                                            Laubach, Nadine Doolittle and Nancy Pole RE: 1994 Anna Trusts fbo Hughes
22,23,24 (combined)       N/A        1310                   and Middleton
                                                 2013-11-05 Email from Bruce Rosenfield and Margaret Thompson and Stine to Larry           Attorney Client / Work Product
22,23,24 (combined)       N/A        1311                   Laubach- Anna Trust
                                                 2013-11-05 Email from Margaret Thompson and Stine to Bruce Rosenfield, cc Larry           Attorney Client / Work Product
22,23,24 (combined)       N/A        1380                   Laubach and NORE: 1994 Anna Trusts fbo Hughes and Middleton
                                                            Email from Bruce Rosenfield to Leah Ricci: FW: Nationwide Insurance
        25                N/A        1397        2013-11-05 Company                                                                        A/C
                                                 2013-11-08 Email from Bruce Rosenfield to Stine, cc Larry Laubach, Nadine Doolittle and   Attorney Client / Work Product
22,23,24 (combined)       N/A        1309                   Nancy Pole RE: 1994 Anna Trusts fbo Hughes and Middleton
                                                            Emails between John S. Middleton and Bruce A. Rosenfield re Estate of
        19                N/A        483         2013-11-17 Frances S. Middleton                                                           A/C
                                                            Emails among John S. Middleton, Nancy Pole, Bruce A. Rosenfield and
        19                N/A        484         2013-11-18 Margaret Thompson re Estate of Frances S. Middleton                            A/C
                                                            Email from Margaret Thompson to John S. Middleton, CC Larry Laubach: FW:
22,23,24 (combined)       N/A        1081        2013-12-11 Estate of Francis Middleton                                                    Attorney Client - FSM Executors
                                                            Email from John S. Middleton to Margaret Thompson: Re Estate of Frances S.
22,23,24 (combined)       N/A        1278        2013-12-17 Middleton.                                                                     Attorney Client - FSM Executors
                                                            Email from John S. Middleton to Margaret Thompson: Re: Checking in
22,23,24 (combined)       N/A        1277        2013-12-21                                                                                Attorney Client - FSM Executors




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                                                              Emails between Bruce Rosenfield and John Middleton                            Redacted financial account numbers, i.e.,
                                                                                                                                            matters other than Anna Nupson or trust for
        21            BHISH003831    N/A         2013-12-23                                                                                 which she is a beneficiary
                                                              Email from John S. Middleton to Margaret Thompson: Re: Letter from Anna's
22,23,24 (combined)       N/A        1276        2014-01-10   Lawyer                                                                        Attorney Client - FSM Executors and WP
                                                              Email from Bruce Rosenfield and Larry Laubach to Margaret Thompson: RE:
22,23,24 (combined)   BHICOZ040154   N/A         2014-01-16   Anna Nupson                                                                   Redacted body of email as A/C
                                                 2014-01-16   Email from Bruce Rosenfield and Larry Laubach to Margaret Thompson RE:        Attorney Client /
22,23,24 (combined)       N/A        1302                     Anna Nupson                                                                   Work Product
                                                 2014-01-16   Email from Bruce Rosenfield and Larry Laubach to Margaret Thompson FW:        Attorney Client /
22,23,24 (combined)       N/A        1373                     Anna Nupson                                                                   Work Product
                                                 2014-01-17   Email from Bruce Rosenfield and Margaret Thompson to Larry Laubach Re:        Attorney Client /
22,23,24 (combined)       N/A        1301                     Anna Nupson                                                                   Work Product
                                                 2014-01-17   Email from Larry Laubach and Margaret Thompson to Bruce Rosenfield RE:        Attorney Client /
22,23,24 (combined)       N/A        1308                     Anna Nupson                                                                   Work Product
                                                              1/17/2014;
                                                              2/19/2014;
                                                              4/25/2014;
                                                              5/20/2014;
                                                              6/12/2014;
                                                              and
1/31/2017 BHISHM                                              12/3/2014 Cozen to Frances S. Middleton c/o John Stine: Invoices for
    Production            N/A        N/A         2014-01-17   Professional Services (Bates Nos. CO 000874 – 891)                            AC – FSM Executors Hold
                                                 2014-01-18   Email from Bruce Rosenfield and Margaret Thompson to Larry Laubach, cc Rm     Attorney Client /
22,23,24 (combined)       N/A        1298                     and Nadine Doolittle RE: Anna Nupson                                          Work Product
                                                 2014-01-18   Email from Bruce Rosenfield and Margaret Thompson to Larry Laubach, cc RM     Attorney Client /
22,23,24 (combined)       N/A        1299                     and ND Re: Anna Nupson                                                        Work Product
                                                 2014-01-18   Email from Larry Laubach and Margaret Thompson to Bruce Rosenfield RE:        Attorney Client /
22,23,24 (combined)       N/A        1300                     Anna Nupson                                                                   Work Product
                                                 2014-01-19   Email from Margaret Thompson to Bruce Rosenfield, cc Larry Laubach and        Attorney Client / Work Product
22,23,24 (combined)       N/A        1297                     Nadine Doolittle Re: Anna Nupson
                                                 2014-01-20   Email from Bruce Rosenfield to Margaret Thompson and Larry Laubach, cc RM     Attorney Client / Work Product
22,23,24 (combined)       N/A        1292                     and Nadine Doolittle RE: Anna Nupson
                                                 2014-01-20   Email from Margaret Thompson to Bruce Rosenfield and Larry Laubach, cc RM     Attorney Client /
22,23,24 (combined)       N/A        1293                     and Nadine Doolittle RE: Anna Nupson                                          Work Product
                                                 2014-01-20   Email from Bruce Rosenfield to Margaret Thompson and Larry Laubach, cc        Attorney Client / Work Product
22,23,24 (combined)       N/A        1294                     Nadine Doolittle and RM Re: Anna Nupson
                                                 2014-01-20   Email from Margaret Thompson to Bruce Rosenfield and Larry Laubach RE:        Attorney Client /
22,23,24 (combined)       N/A        1295                     Anna Nupson                                                                   Work Product
                                                 2014-01-20   Email from Bruce Rosenfield to Larry Laubach and Margaret Thompson Re:        Attorney Client / Work Product
22,23,24 (combined)       N/A        1296                     Anna Nupson
                                                 2014-01-20   Email from Larry Laubach and Margaret Thompson to Bruce Rosenfield RE:        Attorney Client /
22,23,24 (combined)       N/A        1306                     Anna Nupson                                                                   Work Product
                                                 2014-01-20    Email from Larry Laubach and Bruce Rosenfield to Margaret Thompson RE:       Attorney Client /
22,23,24 (combined)       N/A        1307                     Anna Nupson                                                                   Work Product
                                                 2014-01-21   Email from Mher (Schnader) to Larry Laubach and Margaret Thompson, cc         Attorney Client / Work Product
22,23,24 (combined)       N/A        1291                     Bruce Rosenfield and ND RE: Anna Nupson
                                                              Email from Thompson to John S. Middleton: Freeman's appraisal, safe deposit
22,23,24 (combined)       N/A        929         2014-02-07   box, Waverly                                                                  Attorney Client - FSM Executors
                                                              Attachment to 929: LEGAL 18190640v1 Middleton Frances
22,23,24 (combined)       N/A        930         2014-02-07   Freeman_s appraisal (final).PDF                                               Attorney Client - FSM Executors
                                                              Attachment to 929: LEGAL 15018365v1 Middleton SDB
22,23,24 (combined)       N/A        931         2014-02-07   Inventory 3.4.13_ revised 4_2_13.pdf                                          Attorney Client - FSM Executors
                                                              Email from Stine and Thompson to John S. Middleton: FW: Freeman's bill
22,23,24 (combined)       N/A        936         2014-02-07                                                                                 Attorney Client - FSM Executors
                                                            Attachment to 936: 2418_001.pdf
22,23,24 (combined)       N/A        937         2014-02-07                                                                                 Attorney Client - FSM Executors
                                                 2014-02-13 Email from Kipnes to Larry Laubach and Margaret Thompson, cc Bruce              Attorney Client / Work Product
22,23,24 (combined)       N/A        1290                   Rosenfield and ND RE: Anna Nupson
                                                 2014-02-13 Email from Larry Laubach and Margaret Thompson to Kipnes, cc Bruce              Attorney Client / Work Product
22,23,24 (combined)       N/A        1305                   Rosenfield and ND RE: Anna Nupson
                                                 2014-02-14 Email from Kipnes to Margaret Thompson, cc, Larry Laubach Bruce Rosenfield      Attorney Client /
22,23,24 (combined)       N/A        1288                   ND RE: Anna Nupson                                                              Work Product
                                                 2014-02-14 Email from Margaret Thompson to Kipnes, cc, Larry Laubach, Bruce                Attorney Client /
22,23,24 (combined)       N/A        1289                   Rosenfield, Nadine Doolittle Re: Anna Nupson                                    Work Product
                                                 2014-02-14 Email from Kipnes and Margaret Thompson to Larry Laubach, cc Bruce              Attorney Client /
22,23,24 (combined)       N/A        1364                   Rosenfield and Nadine Doolittle FW:                                             Work Product
22,23,24 (combined)       N/A        1365        2014-02-14 Attachment to 1364: Documents part 1.pdf                                        Attorney Client
                                                 2014-02-17 Email from Kipes to Kipnes, Larry Laubach, Margaret Thompson, cc Rosenfield     Attorney Client / Work Product
22,23,24 (combined)       N/A        1287                   RE:
                                                 2014-02-17 Email from Larry Laubach to Kipnes and Margaret Thompson, cc Bruce              Attorney Client / Work Product
22,23,24 (combined)       N/A        1304                   Rosenfield and Nadine Doolittle RE: RE:
                                                 2014-02-20 Email from Larry Laubach and Kipnes Margaret Thompson, cc Bruce                 Attorney Client /
22,23,24 (combined)       N/A        1303                   Rosenfield and Nadine Doolittle RE: RE:                                         Work Product
                                                 2014-02-20 Email from Margaret Thompson and Larry Laubach to Kipnes, cc Bruce              Attorney Client /
22,23,24 (combined)       N/A        1374                   Rosenfield and Nadine Doolittle RE: RE:                                         Work Product
                                                 2014-02-20 Email from Kipnes and Margaret Thompson to Larry Laubach and Margaret           Attorney Client / Work Product
22,23,24 (combined)       N/A        1375                   Thompson, cc Bruce Rosenfield and Nadine Doolittle RE:
                                                            Email from Stine and Thompson to John S. Middleton: Frances S. Middleton
22,23,24 (combined)       N/A        932         2014-03-05                                                                                 Attorney Client - FSM Executors
                                                            Attachement to 933: 2013 SOW for FSM 3.5.2014_2.pdf
22,23,24 (combined)       N/A        933         2014-03-05                                                                                 Attorney Client - FSM Executors
                                                            Email from Stine to Thompson, CC John S. Middleton: FW: FSM Rev Trust
22,23,24 (combined)       N/A        934         2014-03-05                                                                                 Attorney Client - FSM Executors




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                                                                                                                           Attachment A-1 (Subpoena to Blank Rome, LLP)




                                                            Attachment to 934: 2013 SOW for FSM Rev Trust
22,23,24 (combined)       N/A        935         2014-03-05 3.5.2014_1.pdf                                                                Attorney Client - FSM Executors
                                                 2014-03-12 Email from Kipnes and Margaret Thompson to Larry Laubach, cc Bruce            Attorney Client / Work Product
22,23,24 (combined)       N/A        1363                   Rosenfield and Nadine Doolittle FW: Nupson FoLarry Laubachow Up
                                                            Email from Bruce Rosenfield to Stine, cc Larry Laubach: Re: Anna's personal
22,23,24 (combined)       N/A        1258        2014-04-04 tax liability and distributions from the 2 Anna Trusts                        A/C and WP
                                                            Email from Stine to John S. Middleton, cc Bruce Rosenfield and Larry Laubach:
                                                            Re: Anna's personal tax liability and distributions from the 2 Anna Trusts
22,23,24 (combined)       N/A        1259        2014-04-07                                                                               A/C and WP
                                                            Email from John S. Middleton to Hayes Roberts (Tiedemann), cc Stine, Bruce
                                                            Rosenfield, Larry Laubach and Meadows (Tiedemann) Fw: Anna's personal tax
22,23,24 (combined)       N/A        1260        2014-04-07 liability and distributions from the 2 Anna Trusts                            A/C and WP
                                                            Email from Bruce Rosenfield to Larry Laubach, cc Margaret Thompson and
22,23,24 (combined)       N/A        1282        2014-04-07 Kipnes: Review                                                                A/C
                                                 2014-04-11 Email from Larry Laubach to Bruce Rosenfield, cc Kipnes and Margaret          Attorney Client / Work Product
22,23,24 (combined)       N/A        1312                   Thompson - Review
                                                 2014-04-11 Email from Larry Laubach and Kipnes to Bruce Rosenfield, cc Margaret          Attorney Client /
22,23,24 (combined)       N/A        1313                   Thompson- Documents provided by Schnader                                      Work Product
                                                 2014-04-11 Attachment to 1313: LEGAL 18486430v1 Middleton Schnader                       Attorney Client
22,23,24 (combined)       N/A        1314                   HHM.PDF
                                                 2014-04-11 Email from Larry Laubach and Bruce Rosenfield to Kipnes, cc Margaret          Attorney Client /
22,23,24 (combined)       N/A        1315                   Thompson RE: Documents provided by Schnader                                   Work Product
                                                 2014-04-11 Email from Larry Laubach and Bruce Rosenfield to Kipnes, cc Margaret          Attorney Client /
22,23,24 (combined)       N/A        1316                   Thompson RE: Documents provided by Schnader                                   Work Product
                                                 2014-04-11 Email from Bruce Rosenfield to Larry Laubach, cc Margaret Thompson and        Attorney Client / Work Product
22,23,24 (combined)       N/A        1366                   Kipnes Re: Did u complete your review?
                                                 2014-04-11 Email from Kipnes and Bruce Rosenfield to Larry Laubach, cc Margaret          Attorney Client /
22,23,24 (combined)       N/A        1367                   Thompson RE: Documents provided by Schnader                                   Work Product
                                                 2014-04-11 Email from Kipnes and Bruce Rosenfield to Larry Laubach, cc Margaret          Attorney Client /
22,23,24 (combined)       N/A        1368                   Thompson RE: Documents provided by Schnader                                   Work Product
                                                 2014-04-11 Email from Kipnes and Bruce Rosenfield to Larry Laubach, cc Margaret          Attorney Client /
22,23,24 (combined)       N/A        1369                   Thompson RE: Documents provided by Schnader                                   Work Product
                                                 2014-04-15 Email from Larry Laubach and Bruce Rosenfield to Kipnes, cc Margaret          Attorney Client / Work Product
22,23,24 (combined)       N/A        1317                   Thompson and Nadine Doolittle Re: Documents provided by Schnader
                                                 2014-04-15 Email from Larry Laubach and Bruce Rosenfield to Kipnes, cc Margaret          Attorney Client /
22,23,24 (combined)       N/A        1318                   Thompson and Nadine Doolittle RE: Documents provided by Schnader              Work Product
                                                 2014-04-15 Email from Kipnes and Larry Laubach and Bruce Rosenfield to Kipnes, cc        Attorney Client /
22,23,24 (combined)       N/A        1370                   Margaret Thompson and ND RE: Documents provided by Schnader                   Work Product
                                                 2014-04-15 Email from Kipnes and Bruce Rosenfield to Larry Laubach, cc Margaret          Attorney Client /
22,23,24 (combined)       N/A        1371                   Thompson and ND RE: Documents provided by Schnader                            Work Product
                                                 2014-04-15 Email from Kipnes to Larry Laubach, cc Margaret Thompson and Bruce            Attorney Client / Work Product
22,23,24 (combined)       N/A        1372                   Rosenfield and NDFW: Documents provided by Schnader
                                                            John Middleton communication to Margaret Thompson, Esq. regarding estate
        18                N/A        480         2014-04-28 liabilities                                                                   Attorney Client
                                                            Emails among John Middleton, Nadine Doolittle (Schnader) and Bruce
                                                            Rosenfield re J. and L. Middleton personal estate planning and demands from
        21                N/A        924         2014-05-19 T. Mucci                                                                      Attorney/client privilege and work produc
                                                            Email from Bruce Rosenfield to John S. Middleton, CC Larry Laubach: FW: Ms.
22,23,24 (combined)       N/A        1090        2014-05-20 Anna Nupson                                                                   A/C and WP
                                                            Email from John S. Middleton to Bruce Rosenfield, CC Larry Laubach: RE: Ms.
22,23,24 (combined)       N/A        1091        2014-05-20 Anna Nupson                                                                   A/C and WP
                                                            Email from Bruce Rosenfield to John S. Middleton, CC Larry Laubach:RE: Ms.
22,23,24 (combined)       N/A        1092        2014-05-20 Anna Nupson                                                                   A/C and WP
                                                            Email from John S. Middleton to Bruce Rosenfield, CC Larry Laubach: RE: Ms.
22,23,24 (combined)       N/A        1093        2014-05-20 Anna Nupson                                                                   A/C and WP
                                                            Email from Bruce Rosenfield to John S. Middleton, CC Larry Laubach:RE: Ms.
22,23,24 (combined)       N/A        1094        2014-05-20 Anna Nupson                                                                   A/C and WP
                                                            Memorandum from Michael Williams (Schnader) to Nadine Doolittle, Wilbur
                                                            Kipnes (Schnader) and Bruce Rosenfield re advice for client regarding legal
        21                N/A        927         2014-05-29 arguments of Anna Nupson                                                      Attorney/client privilege and work produc
                                                 2014-06-03 Email from Larry Laubach to Bruce Rosenfield FW: Correspondence re. Anna Attorney Client /
22,23,24 (combined)       N/A        1319                   Nupson invalid assignment                                                     Work Product
                                                            Email among Bruce Rosenfield, John Middleton, Larry Laubach and Rosemary
        21                N/A        926         2014-06-04 Maher re legal arguments of Anna Nupson                                       Attorney/client privilege and work produc
                                                            Email from John S. Middleton to Bruce Rosenfield, cc Larry Laubach: FW:
22,23,24 (combined)   BHICOZ037196   N/A         2014-06-04 Correspondence re. Anna Nupson invalid assignment                             Redacted body of top email as A/C and WP
                                                            Email from Bruce Rosenfield to John S. Middleton, CC Larry Laubach,
22,23,24 (combined)       N/A        1095        2014-06-04 Margaret Thompson and Rosemary Maher: Nupson Research                         A/C and WP
22,23,24 (combined)       N/A        1096        2014-06-04 Attachment to 1095: Memo re Assignment                                        A/C and WP
                                                            Email from Larry Laubach to Bruce Rosenfield and John S. Middleton, cc RM:
22,23,24 (combined)       N/A        1097        2014-06-04 RE Nupson Research                                                            A/C and WP
                                                            Email from Larry Laubach to Bruce Rosenfield and John S. Middleton, cc RM:
22,23,24 (combined)       N/A        1098        2014-06-04 RE Nupson Research                                                            A/C and WP
                                                            Communication from Rosemary Maher (Schnader) to Bruce Rosenfield re
                                                            discussion with Larry Laubach and John Middleton regarding legal arguments
        21                N/A        925         2014-06-05 of Anna Nupson                                                                Attorney/client privilege and work produc
                                                            Email from John S. Middleton to Bruce Rosenfield and Larry Laubach, cc RM:
22,23,24 (combined)       N/A        1099        2014-06-05 Nupson Research                                                               A/C and WP
                                                            Email from Bruce Rosenfield to John S. Middleton and Larry Laubach, cc RM:
22,23,24 (combined)       N/A        1100        2014-06-05 Nupson Research                                                               A/C and WP
                                                            Email from Larry Laubach to John S. Middleton and Bruce Rosenfield: CaLarry
22,23,24 (combined)       N/A        1101        2014-06-05 Laubach with Mucci                                                            A/C and WP
                                                 2014-06-05 Email from Bruce Rosenfield to Larry Laubach, cc ND- Nupson Research          Attorney Client /
22,23,24 (combined)       N/A        1360                                                                                                 Work Product




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                                                            Email from Rosenfield to John S. Middleton and Larry Laubach: Re Call with
22,23,24 (combined)       N/A        945         2014-06-06 Mucci                                                                           A/C and WP
                                                            Email from Laubach to Rosenfield and John S. Middleton: RE Call with Mucci
22,23,24 (combined)       N/A        946         2014-06-06                                                                                 A/C and WP
                                                            Email from John S. Middleton to Larry Laubach and Bruce Rosenfield: RE Call
22,23,24 (combined)       N/A        947         2014-06-06 with Mucci                                                                      A/C and WP
                                                            Email from Bruce Rosenfield to John S. Middleton and Larry Laubach: Call with
22,23,24 (combined)       N/A        948         2014-06-06 Mucci                                                                           A/C and WP
22,23,24 (combined)       N/A        949         2014-06-06 Attachment to 948: Anna's Advisors- Trust Inspection                            A/C and WP
22,23,24 (combined)       N/A        950         2014-06-06 Attachment to 948: 1994 Trusts; Disqualification Claim                          A/C and WP
22,23,24 (combined)       N/A        951         2014-06-06 Attachments to 948: Joel Young 12 30 14 letter.docx                             A/C and WP
                                                            Email from Larry Laubach to John S. Middleton and Bruce Rosenfield: Call with
22,23,24 (combined)       N/A        1102        2014-06-06 Mucci                                                                           A/C and WP
                                                            Attachment to 1103: LEGAL 19315292v1 Letter to Thomas J.
22,23,24 (combined)       N/A        1103        2014-06-06 Budd Mucci.DOCX                                                                 A/C and WP
                                                            Attachment to 1104: LEGAL 19315292v1 Letter to Thomas J.
22,23,24 (combined)       N/A        1105        2014-06-06 Budd Mucci.DOCX                                                                 A/C and WP
                                                            Email from Bruce Rosenfield to Larry Laubach, cc John S. Middleton: FW: Draft
22,23,24 (combined)       N/A        1104        2014-06-08 Letter to Mucci                                                                 A/C and WP
                                                            Email from Larry Laubach to Bruce Rosenfield, cc John S. Middleton: RE: Draft
22,23,24 (combined)       N/A        1106        2014-06-09 letter to Mucci                                                                 A/C and WP
                                                            Email from John S. Middleton to Larry Laubach, Bruce Rosenfield: Draft letter
22,23,24 (combined)       N/A        1107        2014-06-09 to Mucci                                                                        A/C and WP
                                                            Email from Larry Laubach to John S. Middleton, Bruce Rosenfield: Revised
22,23,24 (combined)       N/A        1108        2014-06-09 letter to Mucci                                                                 A/C and WP
                                                            Attachment to 1108: [Comparison Result] Letter to Thomas J.
                                                            Budd Mucci (compared with Letter to
22,23,24 (combined)       N/A        1109        2014-06-09 Thomas J. Budd Mucci-1).pdf                                                     A/C and WP
                                                            Attachment to 1108: [Modified Document] Letter to Thomas J.
22,23,24 (combined)       N/A        1110        2014-06-09 Budd Mucci.docx                                                                 A/C and WP
                                                            Email from John S. Middleton and Bruce Rosenfield to Larry Laubach: FW:
22,23,24 (combined)   BHICOZ032296   N/A         2014-06-10 Letter re. past and future distributions to Anna Nupson                         Redacted body of top email as A/C and WP
                                                            Email from Larry Laubach to Bruce Rosenfield and John S. Middleton: RE:
22,23,24 (combined)       N/A        1111        2014-06-10 Phone Conversation of June 9, 2014                                              A/C and WP
                                                            Email from Bruce Rosenfield to Larry Laubach and John S. Middleton: RE:
22,23,24 (combined)       N/A        1253        2014-06-10 Revised Letter to Mucci                                                         A/C and WP
                                                            Email from Bruce Rosenfield to Larry Laubach, cc John S. Middleton: FW:
22,23,24 (combined)       N/A        1254        2014-06-10 Phone Conversation of June 9, 2014                                              A/C and WP
                                                 2014-06-10 Email from Larry Laubach to ND, cc Bruce Rosenfield FW: Phone Conversation      Attorney Client / Work Product
22,23,24 (combined)       N/A        1320                   of June 9, 2014
                                                 2014-06-10 Email from Nadine Doolittle to Larry Laubach, cc Bruce Rosenfield RE: Phone     Attorney Client /
22,23,24 (combined)       N/A        1361                   Conversation of June 9, 2014                                                    Work Product
                                                            Email from Bruce Rosenfield to Larry Laubach and John S. Middleton: RE
22,23,24 (combined)       N/A        1112        2014-06-11 Letter re. past and future distributions to Anna Nupson                         A/C and WP
                                                            Email from John S. Middleton to Bruce Rosenfield and Larry Laubach: Re
22,23,24 (combined)       N/A        1113        2014-06-11 Letter re. past and future distributions to Anna Nupson                         A/C and WP
                                                            Email from Bruce Rosenfield to John S. Middleton and Larry Laubach: RE
22,23,24 (combined)       N/A        1114        2014-06-11 Letter re. past and future distributions to Anna Nupson                         A/C and WP
                                                            Email from John S. Middleton to Larry Laubach and Bruce Rosenfield: Re Anna
22,23,24 (combined)       N/A        1115        2014-06-24 K. Nupson; Inspection of Trust and Other Related Documents                      A/C
                                                 2014-06-24 Email from Kipnes to Larry Laubach, cc Bruce Rosenfield FW: Anna K. Nupson      Attorney Client /
22,23,24 (combined)       N/A        1321                                                                                                   Work Product
                                                              Email from Larry Laubach to John S. Middleton and Bruce Rosenfield: FW
22,23,24 (combined)       N/A        1116        2014-07-03   Hughes- Letter to Larry Laubach re Letter from Thomas Mucci. PDF              A/C and WP
                                                              Email from Larry Laubach and John S. Middleton to Bruce Rosenfield :RE:       Redacted body of top emails as A/C and
22,23,24 (combined)   BHICOZ032301   N/A         2014-07-04   Hughes - Letter to Larry Laubach re letter from Thomas Mucci.PDF              WP
                                                              Email from Larry Laubach to John S. Middleton and Bruce Rosenfield, cc
22,23,24 (combined)       N/A        1117        2014-07-11   Margaret Thompson: Research memorandum re Mucci request                    A/C and WP
22,23,24 (combined)       N/A        1118        2014-07-11   Attachment to 1117: 19471519_6.pdf                                         A/C and WP
                                                 2014-07-16   Email from Kipnes to Larry Laubach, cc Bruce Rosenfield FW: Anna K. Nupson Attorney Client /
22,23,24 (combined)       N/A        1322                                                                                                Work Product
                                                 2014-07-16   Email from Bruce Rosenfield and Larry Laubach to Kipnes RE: Anna K. Nupson Attorney Client /
22,23,24 (combined)       N/A        1323                                                                                                Work Product
                                                              Email from Larry Laubach to John S. Middleton, cc Bruce Rosenfield: Draft
22,23,24 (combined)       N/A        1119        2014-07-17   response to Mucci                                                          A/C and WP
                                                              Attachment to 119: LEGAL 19579012v1 Letter to Thomas J.
22,23,24 (combined)       N/A        1120        2014-07-17   Budd Mucci, Esquire.DOCX                                                   A/C and WP
                                                              Email from John S. Middleton to Larry Laubach, cc Bruce Rosenfield: Draft
22,23,24 (combined)       N/A        1121        2014-07-17   Response to Mucci                                                          A/C and WP
                                                              Email from John S. Middleton to Larry Laubach, cc Bruce Rosenfield: Draft
22,23,24 (combined)       N/A        1122        2014-07-17   Response to Mucci                                                          A/C and WP
                                                              Email from Larry Laubach to John S. Middleton, cc Bruce Rosenfield: Draft
22,23,24 (combined)       N/A        1123        2014-07-17   response to Mucci                                                          A/C and WP
                                                              Email from John S. Middleton to Larry Laubach, cc Bruce Rosenfield: Draft
22,23,24 (combined)       N/A        1124        2014-07-17   Response to Mucci                                                          A/C and WP
                                                              Email from John S. Middleton and Bruce Rosenfield : Re: Draft Response to
22,23,24 (combined)       N/A        1125        2014-07-17   Mucci                                                                      A/C and WP
                                                              Email from Larry Laubach to John S. Middleton and Bruce Rosenfield: FW:
22,23,24 (combined)       N/A        1126        2014-07-17   Anna K. Nupson; Inspection of Trust and Other Related Documents            A/C and WP
                                                              Email from Bruce Rosenfield to John S. Middleton and Larry Laubach: RE:
22,23,24 (combined)       N/A        1255        2014-07-17   Draft Response to Mucci                                                    A/C and WP
                                                 2014-08-14   Email from Nadine Doolittle to Margaret Thompson, cc Larry Laubach and     Attorney Client
22,23,24 (combined)       N/A        1376                     Bruce Rosenfield: 1994 Anna Trust
22,23,24 (combined)       N/A        1377        2014-08-14   Attachment to 1376: Anna Trust fbo Hughes.pdf                              Attorney Client
22,23,24 (combined)       N/A        1378        2014-08-14   Attachment to 1376: Anna Trust fbo Middleton.pdf                           Attorney Client




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                                                                                                                            Attachment A-1 (Subpoena to Blank Rome, LLP)




                                                 2014-08-25 Email from Bruce Rosenfield to Larry Laubach , cc Kipnes and Nadine Doolittle Attorney Client /
22,23,24 (combined)       N/A        1324                   FW: Anna Nupson memo to file from Nadine                                      Work Product
                                                 2014-08-25 Attachment to 1324: Anna Nupson Memo to File.pdf                              Attorney Client /
22,23,24 (combined)       N/A        1325
                                                                                                                                          Work Product
                                                 2014-08-26 Email fro Larry Laubach to Bruce Rosenfield, cc Kipnes and Nadine Doolittle   Attorney Client / Work Product
                                                            and Margaret Thompson RE: Anna Nupson memo to file from Nadine
22,23,24 (combined)       N/A        1326
                                                 2014-08-26 Email from Bruce Rosenfield to Larry Laubach, cc Kipnes, Nadine Doolittle and Attorney Client / Work Product
22,23,24 (combined)       N/A        1328                   Margaret Thompson RE: Anna Nupson memo to file from Nadine
                                                 2014-08-26 Email from Kipnes to Bruce Rosenfield and Larry Laubach, cc Nadine Doolittle Attorney Client / Work Product
                                                            and Margaret Thompson RE: Anna Nupson memo to file from Nadine
22,23,24 (combined)       N/A        1329
                                                 2014-08-26 Email from Bruce Rosenfield and Larry Laubach to Kipnes, cc Nadine Doolittle, Attorney Client / Work Product
                                                            Margaret ThompsonRE: Anna Nupson memo to file from Nadine
22,23,24 (combined)       N/A        1330
                                                 2014-08-26 Email from Kipnes, Larry Laubach and Bruce Rosenfield to Margaret              Attorney Client /
22,23,24 (combined)       N/A        1331                   Thompson, cc ND RE: Anna Nupson memo to file from Nadine                       Work Product
                                                 2014-08-26 Email from Bruce Rosenfield to Margaret Thompson and Larry Laubach to          Attorney Client /
22,23,24 (combined)       N/A        1332                   Kipnes, cc Nadine Doolittle RE: Anna Nupson memo to file from Nadine           Work Product
                                                 2014-08-26 Email from Margaret Thompson to Larry Laubach and Bruce Rosenfield, cc         Attorney Client /
                                                            Kipnes and Nadine Doolittle RE: Anna Nupson memo to file from Nadine           Work Product
22,23,24 (combined)       N/A        1327
                                                              Email from Kipson to Bruce Rosenfield, Margaret Thompson Larry Laubach cc,
22,23,24 (combined)       N/A        1283        2014-08-27   Nadine Doolittle: RE Anna Nupson memo to file from Nadine                    A/C
                                                 2014-08-27   Email from Bruce Rosenfield and Margaret Thompson and Larry Laubach to       Attorney Client / Work Product
22,23,24 (combined)       N/A        1333                     Kipnes Re: Anna Nupson memo to file from Nadine
                                                 2014-08-27   Email from Kipnes, Margaret Thompson and Larry Laubach to Bruce              Attorney Client / Work Product
22,23,24 (combined)       N/A        1334                     Rosenfield RE: Anna Nupson memo to file from Nadine
                                                 2014-08-27   Email from Margaret Thompson, Bruce Rosenfield and Larry Laubach to          Attorney Client / Work Product
22,23,24 (combined)       N/A        1335                     Kipnes RE: Anna Nupson memo to file from Nadine
                                                 2014-08-27   Email from Larry Laubach and Bruce Rosenfield and Margaret Thompson to       Attorney Client / Work Product
22,23,24 (combined)       N/A        1336                     Kipnes RE: Anna Nupson memo to file from Nadine
                                                              Email from Margaret Thompson and Bruce Rosenfield to Larry Laubach: FW:
22,23,24 (combined)   BHICOZ038436   N/A         2014-10-04   Anna K. Nupson                                                               Redacted body of email as A/C
                                                 2014-10-05   Email from Bruce Rosenfield and Margaret Thompson to Larry Laubach RE:       Attorney Client /
22,23,24 (combined)       N/A        1337                     Anna K. Nupson                                                               Work Product
                                                 2014-10-05   Email from Larry Laubach to Bruce Rosenfield, cc Margaret Thompson RE:       Attorney Client / Work Product
22,23,24 (combined)       N/A        1338                     Anna K. Nupson
                                                 2014-10-05   Email from Bruce Rosenfield to Larry Laubach, cc Kipnes and Margaret         Attorney Client / Work Product
22,23,24 (combined)       N/A        1339                     Thompson and ND Re: Anna K. Nupson
                                                 2014-10-06   Email from Larry Laubach to Bruce Rosenfield, cc Margaret Thompson and       Attorney Client / Work Product
22,23,24 (combined)       N/A        1340                     Kipnes and Nadine Doolittle RE: Anna K. Nupson
                                                              10/7/2014 and 12/3/2014 Cozen to Anna M. Bauer Trusts, John S. Middleton
1/31/2017 BHISHM                                              Trustee:Invoices for Professional Services (Bates Nos. CO 000914 – 919)
    Production            N/A        N/A         2014-10-07                                                                                A/C and W/P
                                                            Email from Larry Laubach to Kipnes, cc Bruce Rosenfield: FW: Ms. Anna K.
22,23,24 (combined)   BHICOZ038442   N/A         2014-10-15 Nupson                                                                         Redacted body of email as A/C and WP
                                                            Email from Larry Laubach to John S. Middleton, cc Margaret Thompson: FW:
22,23,24 (combined)       N/A        1146        2014-10-29 Nupson trust                                                                   Attorney Client - FSM Executors and WP
                                                            Email from Larry Laubach to John S. Middleton, cc Margaret Thompson: FW:
22,23,24 (combined)       N/A        1147        2014-10-29 Nupson trust                                                                   Attorney Client - FSM Executors and WP
                                                 2014-10-29 Email from Margaret Thompson, Nancy Pole, Nadine Doolittle to Zack             Attorney Client / Work Product
22,23,24 (combined)       N/A        1341                   Zachariah, cc Bruce Rosenfield and Larry Laubach -Middleton 1982 Trust
                                                 2014-10-29 Email from Kipnes to Larry Laubach, cc Bruce Rosenfield, Margaret Thompson     Attorney Client / Work Product
22,23,24 (combined)       N/A        1342                   and Nadine Doolittle FW: Middleton 1982 Trust
                                                 2014-10-29 Email from Larry Laubach to Kipnes, cc Bruce Rosenfield aNadine Doolittle      Attorney Client / Work Product
22,23,24 (combined)       N/A        1343                   Margaret Thompson aNadine Doolittle Nadine Doolittle RE: Middleton 1982
                                                 2014-10-29 Email from Bruce Rosenfield to Larry Laubach, cc Kipnes, Margaret              Attorney Client / Work Product
22,23,24 (combined)       N/A        1344                   Thompson, Nadine Doolittle Re: Middleton 1982 Trust
                                                 2014-10-30 Email from Nancy Pole, Zack Zachariah and Nadine Doolittle to Margaret         Attorney Client / Work Product
                                                            Thompson, cc Bruce Rosenfield and Larry Laubach RE: Middleton 1982 Trust
22,23,24 (combined)       N/A        1345
                                                 2014-10-31 Email from Bruce Rosenfield to Larry Laubach, cc Margaret Thompson and         Attorney Client /
22,23,24 (combined)       N/A        1346                   Nadine Doolittle Re: 1994 Trust Account                                        Work Product
                                                 2014-10-31 Email from Margaret Thompson to Bruce Rosenfield, cc Nadine Doolittle and      Attorney Client /
22,23,24 (combined)       N/A        1362                   Larry Laubach RE: 1994 Trust Account                                           Work Product
                                                 2014-10-31 Email from Bruce Rosenfield to Margaret Thompson, cc Larry Laubach and         Attorney Client /
22,23,24 (combined)       N/A        1379                   Nadine Doolittle Re: 1994 Trust Account                                        Work Product
                                                 2014-11-04 Email from Larry Laubach to Kipnes, cc Bruce Rosenfield and Nadine Doolittle   Attorney Client /
22,23,24 (combined)       N/A        1347                   RE: Trust inspection                                                           Work Product
                                                            Email from Bruce Rosenfield to James Mannion, cc John S. Middleton, Larry
                                                            Laubach and Nadine Doolittle: Re: Middleton/Anna Nupson 1994 Trusts
22,23,24 (combined)       N/A        1157        2014-11-10                                                                                A/C and WP
                                                            Email from Bruce Rosenfield to Mannion, cc John S. Middleton, Larry Laubach
22,23,24 (combined)       N/A        1158        2014-11-10 and Nadine Doolittle: Re Middleton/Anna Nupson 1994 Trusts                     A/C and WP
                                                 2014-11-17 Email from Nadine Doolittle to Margaret Thompson, cc Larry Laubach and         Attorney Client / Work Product
22,23,24 (combined)       N/A        1348                   Bruce Rosenfield and Mannion- 1994 Anna Trusts
                                                 2014-11-17 Attachment to 1348: Nupson, Anna (Middleton) - 1994 Trust fbo                  Attorney Client / Work Product
22,23,24 (combined)       N/A        1349                   Middleton - Explanation of Exhibit 1 to Second Account (20.pdf
                                                 2014-11-17 Attachment to 1348: Nupson, Anna (Middleton) - 1994 Trust fbo Hughes -         Attorney Client / Work Product
22,23,24 (combined)       N/A        1350                   Explanation of Exhibit 1 to Second Account (2014).pdf
                                                 2014-11-17 Attachment to 1348: Nupson, Anna (Middleton) - 1994 Trust fbo Middleton -      Attorney Client / Work Product
22,23,24 (combined)       N/A        1351                   Trustee Documents (2014).pdf
                                                 2014-11-17 Attachment to 1348: Nupson, Anna (Middleton) - 1994 Trust fbo Hughes -         Attorney Client / Work Product
22,23,24 (combined)       N/A        1352                   Trustee Documents (2014).pdf




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                                              2014-11-17 Attachment to 1348: Nupson, Anna (Middleton) - 1994 Trust fbo                   Attorney Client / Work Product
22,23,24 (combined)     N/A       1353                   Middleton - Petition for Adjudication Re_ Second Account (.pdf
                                              2014-11-17 Attachment to 1348: Nupson, Anna (Middleton) - 1994 Trust fbo Hughes -          Attorney Client / Work Product
22,23,24 (combined)     N/A       1354                   Petition for Adjudication Re_ Second Account (201.pdf
                                              2014-11-21 Email from Margaret Thompson to Nadine Doolittle, cc Mannion Bruce              Attorney Client /
22,23,24 (combined)     N/A       1355                   Rosenfield and Larry Laubach Re: Middleton 1982 Trust                           Work Product
                                                         Email from Margaret Thompson to John S. Middleton, cc Larry Laubach and
22,23,24 (combined)     N/A       1170        2014-12-02 Mannion: Re Accounts for the Anna Trusts                                        Attorney Client - FSM Executors and WP
                                                         Communications between James Mannion, Esq. and Margaret Thompson,
        18              N/A       482         2014-12-07 Esq. regarding litigation strategy                                              Attorney Client and/or Work Product
                                                         Email from Margaret Thompson to John S. Middleton, cc Larry Laubach and
22,23,24 (combined)     N/A       1172        2014-12-09 Mannion: Trustee ect. for the 1994 Trust                                        Attorney Client - FSM Executors and WP
                                                         Email from Margaret Thompson to John S. Middleton, cc Mannion and Larry
22,23,24 (combined)     N/A       1173        2014-12-09 Laubach: Trustees ect. for the 1994 Trust                                       Attorney Client - FSM Executors and WP
                                                         Email from Margaret Thompson to John S. Middleton, cc Mannion and Larry
22,23,24 (combined)     N/A       1174        2014-12-09 Laubach: Re: Signature Pages                                                    Attorney Client - FSM Executors and WP
                                                         Attachment to 1174: LEGAL 21695808v1 Anna Middleton Bauer
22,23,24 (combined)     N/A       1175        2014-12-09 Trust fbo Hughes - Petition for Adjudication for Second Account.pdf             Attorney Client - FSM Executors and WP
                                                         Attachment to 1174: LEGAL 21705402v1 Anna Middleton Bauer
22,23,24 (combined)     N/A       1176        2014-12-09 Trust fbo Middleton - Petition for Adjudication for Second Account.pdf          Attorney Client - FSM Executors and WP
                                                         Attachment to 1174:LEGAL 21708044v1 SIGNATURE PAGES Anna Trusts.PDF
22,23,24 (combined)     N/A       1177        2014-12-09                                                                                 Attorney Client - FSM Executors and WP
                                                         Email from Mannion to John S. Middleton, cc Larry Laubach and Margaret
22,23,24 (combined)     N/A       1178        2014-12-09 Thompson: Fwd. Trust of John Middleton, Inc. Settlor                            Attorney Client - FSM Executors and WP
                                                         Email from Margaret Thompson to John S. Middleton, cc Larry Laubach and
22,23,24 (combined)     N/A       1166        2014-12-22 Mannion: Re Accounts for the Anna Trusts                                        Attorney Client - FSM Executors and WP
                                                         Attachment to 1066: LEGAL 21654519v1 Anna Bauer Trust fbo Hughes
22,23,24 (combined)     N/A       1167        2014-12-22 Account.PDF                                                                     Attorney Client - FSM Executors and WP
                                                         Attachment to 1066: LEGAL 21653833v1 Anna Bauer Trust fbo Middleton
22,23,24 (combined)     N/A       1168        2014-12-22 Second Account.PDF                                                              Attorney Client - FSM Executors and WP
                                                         Attachment to 1066: LEGAL 21655089v1 Anna Trust Verifications.PDF
22,23,24 (combined)     N/A       1169        2014-12-22                                                                                 Attorney Client - FSM Executors and WP
                                                         Email from Margaret Thompson to Mannion, Larry Laubach, John S.
22,23,24 (combined)     N/A       1179        2015-01-13 Middleton; FW: Nupson- 2012-X3503                                               Attorney Client - FSM Executors
                                                         Communications between Margaret Thompson, Esq., James Mannion, Esq.,            Attorney-Client Privileged and/or Attorney
        18              N/A       481         2015-01-21 Larry Laubach, Esq., and John Middleton regarding trust dispute                 Work Product
                                                         Email from Margaret Thompson to John S. Middleton, cc Stine, Mannion and
                                                         Larry Laubach: Estate of Frances Middleton: Federal Estate Tax Closing Letter
22,23,24 (combined)     N/A       1180        2015-02-13                                                                                 Attorney Client - FSM Executors and WP
                                                         Email from Kipnes, Bruce Rosenfield, Roberta Barsotti, and Nadine Doolittle
                                                         to Carol McCarthy: RE: Bruce Rosenfieldadford Holdings Valuation
        25              N/A       1405        2015-04-06                                                                                 A/C and WP
1/31/2017 BHISHM                                         Cozen to Herbert and Anna Middleton Trust 4/21/1972: Invoices for
    Production          N/A       N/A         2015-08-24 Professional Services (Bates Nos. CO 000943 – 945)                              AC – FSM Executors Hold
                                                         Email from Margaret Thompson to Mannion, cc John S. Middleton: FW:
                                                         099997-000[2015-09-10 12-52-15] PRIVILEGED ATTORNEY/CLIENT
22,23,24 (combined)     N/A       1274        2015-09-10 COMMUNICATION                                                                   Attorney Client - FSM Executors and WP
                                                         Attachment to 1274
22,23,24 (combined)     N/A       1275        2015-09-10                                                                                 Attorney Client - FSM Executors and WP
                                                         Email from Carol McCarthy to Chetra Mao, cc Records Creation: RE Bradford
        25              N/A       1403        2015-12-11 Holdings                                                                        A/C and WP
                                                         Email from Roberta Barsotti to Chetra Mao:FW: Estate of Herbert H.
        25              N/A       1404        2016-02-24 Middleton, Jr.                                                                  A/C and WP
                                                         Email from Zach Zacharia, Nadine Doolittle to Nancy Pole: FW: ANNA
        25              N/A       1406        2016-03-01 MIDDLETON TRUST PNC CHECKING                                                    A/C and WP
                                                         Email from Kipnes, Bruce Rosenfield, Roberta Barsotti, and Nadine Doolittle
        25              N/A       1398        2016-04-07 to Lina Giunta (Schnader) Re Middleton Billing                                  A/C and WP
        25              N/A       1399        2016-04-07 Attachment to 1398: 2401342011510524520-0115March 31, 2016.doc                  A/C and WP
        25              N/A       1400        2016-04-07 Attachment to 1398: 2401344011510524520-0119March 31, 2016.doc                  A/C and WP
        25              N/A       1401        2016-04-07 Attachment to 1398: 2401345011510524520-0120March 31, 2016.doc                  A/C and WP
        25              N/A       1402        2016-04-07 Attachment to 1398: 2401346011510524520-0121March 31, 2016.doc                  A/C and WP
                                                         Email from Larry Laubach to John S. Middleton and Annette Madison, cc Larry
                                                         Laubach and Bruce Rosenfield: RE: VALUATION ENGAGEMENT FOR C TO S
22,23,24 (combined)     N/A       1238        2001-02-29                                                                                 A/C
                                                         Early 2002 - chart regarding Frances S. Middleton estate, with handwritten
        8               N/A       374         2002-00-00 notes                                                                           Attorney Client - FSM Executors
                                                          Chart of "Frances Middleton Current Assets Available for Distribution"
        8               N/A       375         2002-00-00 prepared for discussion with counsel                                            Attorney Client - FSM Executors
                                                         Frances S. Middleton handwritten notes regarding discussions with Bruce
        8               N/A       397      2005/09       Rosenfield                                                                      Attorney Client - FSM Executors
                                                         Undated draft of Frances S. Middleton 2001 Agreement of Trust with John S.
        6               N/A       204      undated       Middleton handwritten notes over the face of the document                       A/C
                                                         Undated Frances S. Middleton handwritten note                                   Redacted private medical information
                                                                                                                                         regarding John S. Middleton family from
        8             BHI046256   N/A      Undated                                                                                       page 9 of document
                                                          Pre-2001 Undated Frances S. Middleton handwritten notes regarding
                                                          discussionswith Bruce Rosenfield regarding gifting issues beginning "Bruce",
                                                          seems to refer to planned gifts to grandchildren and possible GRAT.
        8               N/A       398      Undated                                                                                       Attorney Client - FSM Executors
                                                          Undated Frances S. Middleton handwritten notes re discussion with Bruce
        8               N/A       399      Undated        Rosenfield about estate planning                                               Attorney Client - FSM Executors
                                                          Stock ledgers                                                                  First page redacted as W/P - counsel's note
        10            BHI050090   N/A      Undated                                                                                       taken during document collection




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                                                    Collection of documents relating to trusts                                    Redacted body of letters between Schnader
                                                                                                                                  attorneys and Herbert H. Middleton, Jr., as
                                                                                                                                  A/C (held by his Executor) or with J.
        25         BHISH06803   N/A     Undated                                                                                   Middleton as A/C
1/31/2017 BHISHM                                    Schnader attorney’s handwritten notes re: 1990 Trust, with attachment
    Production        N/A       N/A     Undated                                                                                   W/P
1/31/2017 BHISHM                                    Schnader document titled “Bradford Holdings Valuations”
    Production        N/A       N/A     undated                                                                                   AC – FSM Executors Hold
1/31/2017 BHISHM                                    Schnader document titled “Bradford Holdings Valuation as of April 19, 2000”
    Production        N/A       N/A     undated                                                                                   AC – FSM Executors Hold
1/31/2017 BHISHM                                    Schnader handwritten document titled “Fran”
    Production        N/A       N/A     undated                                                                                   AC – FSM Executors Hold
1/31/2017 BHISHM                                    Schnader document titled “Frances Middleton GRAT dated 2/1/01”, with
    Production        N/A       N/A     undated     attachments                                                                   AC – FSM Executors Hold
1/31/2017 BHISHM                                    Schnader document titled “Frances S. Middleton GRAT Chart”
    Production        N/A       N/A     undated                                                                                   AC – FSM Executors Hold
1/31/2017 BHISHM                                    Schnader handwritten notes re: family shares and GRAT
    Production        N/A       N/A     Undated                                                                                   AC – FSM Executors Hold




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